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                                   DECLAM TION OF ROGER PRESCHER
                                        PURSUANT TO 28U.S.C.j1746
                  1,RogerPrescher, hereby.declareasfollour
                                                         s:
                         My name isRogerPrescher. 1liveinlllinoisandam overeiglnteen )earsofagc.

          Ihavepersonalknowledgeofthefactsstated in thisdeclaratien. and ifca1Ied asawïtness. I

          couldand wouldcompetentll'testifyto thesesamefacts,

                        UntilDecember30,2016,Ihad health insurancethrouglnAetna. However,I
         beganlookingforalternativesinmid-llecemberafterleam ing thatAetnapla
                                                                             nned to exitthe
         individualinsurancem arketin Illinoisstarting in20l7.

                        On oraboutDecember l2, 20l6.lconducted an onlinesearch tbrhealth

         insurance and clickedon awcbsitethatclaimedto offerhealth insurancequotes. Asijlstructed

         by thesite.lprovided certainpersonalinformation, including my nam c, bil-thdate,andtelephonc

         num ber.

                       Aftersubm itting m y inform ationto thewebsite, 1started to recekvecallsalmost
        im m ediately from peopleclaim ingto reprcsentinsurancecom panies. Ieventually receivedacall

        from amalewho identif-ied himselfasan insuranceagentfrom Simple Health Pl
                                                                                       ans('tsimple
        I-1ealth'').Al
                     though ldo notremembertheagent'sname. heseemcdpoliteandknoxvëedgeable.
        Heasked m equestionsregarding m ym edicalhistory'
                                                        .t)peot'plandesired,and affordabilit).     I
        toldthe SimpleHeaIthagentthatIcouldpa)up to $l,000permontl
                                                                 nforamajormcdicalpolicy
        thatwould covermy wifeand me. Icxplained thatlwanted afulIm edicalhealth insurance
        policy sim ilarto m ycurrentpolio'with Aetna, whic,h included doctorvisits specialists,
                                                                                  ,

       prescription m edicatiolls,andhospitalcoverage. lspecified thatthe policq'needed to cever

       certain preexisting medicalconditionsthatm). w ifcand lhac!beendiag.nosedw ith and identit
                                                                                                sed
       theseconditionstothe agent. Ialso explainedthat1wanted co-palsofaboutS35fbrdoctor
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          visitsand a$5,000 annualdeductible.AfterIdcscribed thepolicythatIneedecl. theagent
          claimed thathehadsucllaplanwith an effectivedateofDecember28, 2016,

                        The agentdescribed thepolic/'thathe foundasa PIàO. ur
                                                                            hich Iunderstood to
          m eanapreferred providerorganization health insuranceplan. 'l-he agentclaimedthatthisPPO

          plan would covera11ofmyhealth insurance needsaswellasthepreexistingconditionsthatIhad

          identified.l'leexplainedthattheplanhadaone-timeenrollmentfeec)fapproximately $150 and
         amonthly t'
                   premium''()f5720 foratotalupfrontcosttnf5870. Theagentalsoassurcd m etlnat
         m yprim ary caredoctorwasintheplan'snetwork.

                       Theagentidentifiedonlytno restrictions. Firstshesaid thattheplanwould not

         covermaternityc'are ordrug and aleoholaddictiontreatment. Second.he saidthatmy w ifeand I

         wouldneedto wait30 dal'sto visitourdoctorswhilethepolicyprocesscd in SimpleHealth's

         system. Asidefrom the30-day waitingperiod. which seemed odd,everything elseseunded

        reasonable.The Simple11ea1th PPO would also costlessthanwhatIu'
                                                                      aspaying currently for

        coveragethrough Aetna.Thus,based ontheagent'srepresentations- Iagreed to sign up foru hat

        lbelievedwasamajormedicalPPO healthinsurancepelicl'withthebcnefitsdescribedabove            .


                      Aftertakingm y ereditcard inform ation,theagenthelpedm ef'
                                                                               inalizethcpolicy
        by guiding m ethrough an e-signatureveriscation processon my sm artphone. During this

        process.w hich only Iasted acoupleofm inutes. theagentasked meto taptllescreenof-1
                                                                                         m)'phone
        asa way oft'
                   signing''various documents. 1did nothavetheopportunitytoread thesc

        documents. Theagentthenprovided acallbacknumbcr, toldm etoexpectmy insurancecard

        w ithin two weeks,and ended thecall.

                      Shortly afterm y calln'ith Simple lIealth, Ireceived tu'
                                                                             o emails from a com pany
       calleclHealth Insurance lnnovations(û%Hll'-)thatarrived ataboutthesametime Thefirstemail
                                                                                    .
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          includedtwelveattachments. ThesecondemailcontainedthesubjectIine, 'kllogerPrescher-
          YourA pplicationforI-im ited Benefit1-1ea1th Insurance.'-Trueandcorrectcopiesoftheseemails

          areattached hereto asPre cherA t'
                                          t.A andA tt. B .

                       On oraboutFebruary I7, 20l7-In'
                                                     entto seem ygeneralpractitionerlbra routine
         check-up. Iprovided my insurancecardtotheoffice staffwhcn larrived. A sIIeftsthestaff

         informed me thattheycalled thecompanyon thebackofthecard, AdministrativeConceptsInc
                                                                                                   .,

         and could notdetcrm inetheextentofnaycoverage, uhich mademe suspiciousaboutuhatother

         problem sm ightexistw ithm j'plan.

                       From M archto Juneof20l7, lreceived billsforseveraldoctorvisitsthatshould
         have becncovered bJ'the Simple l'
                                         lealth plan based on thebenet
                                                                     -itsdescribed duringmy callw ith

         theagent. Specifically,l&isited my doctoraboutthree orfourtimesforroutinecheck-ups,and

         wasshocked to find thatthebalancesIowed ranged from $145 to $185 pervisit This
                                                                                    .



        contradicted whatlhad beenpromised abouttheplan b) SimpleHealth'sagent, who had assured

        methatmydoctorwould beintheplan'snetwork andthattheplanwould covera1lbuta$35

        copay.lhad no choicebutto pay thesebillsand ldecided thatIwould dealwith thisproblem

        Iater.

                      Beforelhad an opportunit).to lookinto my concernswiththepelic)sold tome

        by Simple1-
                  1ea1th,on orabeutJuly20, 2017,1visited m ydoctorforfootpain. Afterexam ining

        m e,m y doctordirected m cto got()thehospital, where surgeonstold methatIneeded imm ediate

        surgery.1remainedin thehospitalforafew dal'
                                                  stbllowing thesurgery. As Ieventually

        learned Gvemonthslater-the''PPO insurance''planthatIhadpurchased from Simple1Iealth did
       notcoveranypartofthesurgery orhospitalization.
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                          Aftersurgerl',m ).doctorsrucom m ended additionaltreatm ent. includingmedical

          im agingand hom e nursingassistance. However,lwastold thatthepolicl'Ihad purcllasedfrom

          Sim pleHealthdidnotcoveran),ofthesetreatm ents, so ldeclineda1lofthem and my wife

          helpedmeforseveralmonths.Duringmyrecovery, doctorsprescribedmedicationsthateost

         about$325each to f5ll.The SimpleHealth policy covered noneofthcsecostseither, despitethc

         agent'spromisethatitwouldpay fbrprescriptionmedications.
                         From July 3l,20l7to January 20l8, lsaw specialistsfbrm ),
                                                                                 'footsix tim es. l
         receivtdabillforeach visitofabout$l70. 1paideacl
                                                        nbilloutofpocketbecausetheSimple
         Health policydid notcoveranyofthesecosts. Paying thesecosts-inadditiontothe$700
         monthly t%premium'-fbrwhatincreasinglyappeared to be uselessi'insurance,''m adem eangry.

                         M yangersurged onoraround December12, 20l8,whcn Ireceived abillform)

        surgeryandhospitalization. lw asindisbelief. 'rheSim pleHealthplan. which supposedlyw asa

        PPO majormcdicalpolicy,coverednoncofthe$20,000costs.Atthispoint. lw ascertain that
        Simple1-1ea1th had deceived me into payingthousandsofdollarsfbraworthlessproduct.

                        BecauseIcould nottind atelephone numberfbrSimple HeaIth, lcalled H Ilto
        cancelmy pianon oraround December26, 20l7,The representative whotookmy call

        explainedthatH11could notprocessmy cancellation requestbecauseHI1didnotscllm e the

        policy. Hesaidthat1would needto contactSimple HeaIth and gave meanum bertocall. Itfklt

        like1111did notwanttotakeresponsibilityforitsproducts, w hich addedtom yfrustration.

               16.      Thesam edal',lspoketo aSim pleHealthrepresentative, explained thatthepolicy
        sold to mehadbeen com pletely m isrepresented, and requestedthatthepolicl'be canceled

       im m ediately.
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                       1am offended b)'SimpleHealth'sdishonestsalestactics. Iclearlyexplained my

         insuranceneeds,)etSim pleHealth soldm ea worthlessproduct. As a result,lspent

         approximately $25,000on medicalexpensesthatshould havebeencovered by my insurance. l
         believethatSimpleHea1thdeliberatelymisledmejusttomakeasale Thiscompanl'should be
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         prevcnted from defrauding otherconsumers.

         Istateunderpenalt)ofperjurl'thattheforegoingstatementistrueandcon-ect .




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                                                 Roger escher
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                                 Application Form ofLimited Benefi
                                                                 tHeaIthlnsurance between HeaIthlnsuranee
                                 lnnovations and RogerPrescherisSi gned and Filed!
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                                                     Application Form ofLim ited
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                                                     Prescher

                                                    Attached isafinalcopyofApplieation Form
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                               DECLAM TION OF AM ANDA SCOTT
                                   PURSUANT TO 28U.S.C.j1746
             1,Amanda Scott,hereby declareasfollows:

                    M y nameisAmandaScott.Ilivein New Jersey and am overeighteen yearsof
      age.lhave N rsonalknowledgeofthe factsstated in thisdeclaratiow and ifcalled asa witness,I

      could and would compdently testify to thesesnmefacts.
                                               SalesCall

             2.     On oraboutJuly 10.2017,Iwaslooking forhealth insuranceonline.Ihad

      recentlyle;myjobandneededtoreplacetheinsurancethatIhadreceivedthroughmyprevious
      employer. Isubmitted my contactinformation to whatIooked likethegovem ment'soflicial

      health care website. A few minutesIater,Ireceived a callfrom arepresentative ofSimple
      Health,who said thatshecould 5nd anaffordable health insuranceplan thatm etmy needs.
             3.     Therepresentative said she wouldputtogethera tspackage''dealthatincluded

      health,dental,and vision insurance. She claimed thatshecould oferallofthese plansto me at
      thediscounted priceof$193 permonth,in parq because Idid notneed pregnancy covemge. She
      said thatthe firstmonth'spaym entwould bealittlehigherdueto enrollmentfees.

             4.     During ourconversation,in responseto my questions,therepresentative

      repeatedlyassuredmethattheplansheofferedwmsmajormedicalinsurance.Iunderstoodthis
      to m emn aplan thatwould - with anominalco-pay - coverroutinehospitaland doctorvisits,

      medicaltests,and prescription drugs.n e representativesaidthatIwould receivean enrollment

      package in the mailwithina few days. Shealso said thatIcouldobtain a fullrefund if1
      cancelled within the first15 days. Based onthese representations,Iagreed tocnrollin theplan.
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            5.      lprovided Sim pleHealth w101my creditcard inform ation,whichwascharged
      $228.30 on July 12by'QHEALTH W SURANCE l:XX-XXXXXXX FL''and $119.95 on July 13 by
      4'HEALTH BENEFITS ON 800-4921834 FL.''

                    On oraround July l7,2017,afterlstillhad notreceived the promised enrollment

      package,lcalled SimpleHealth to check on thestatusofmy application. A diferent
      representative confirmed my enrollm entbutsaid thatalIofthe materialswould be provided

      electronically.Thisseemed odd.
                                                Em ails

                    IreceivedatIeastfouremailsrelated to thevariousproduc? and servicesthat

      SimpleHealth pllechaKed on mybehalf. On July l0,2017,Ireceivedtwo messagesregarding
      somethingidentifiedasM coreHealth''from the addresscs-simplea simplehealtholnnq.
                                                                                     com .
      The firstmeqtngewelcomed metothe N coreHealth progmm''and Iinked toan Rlntroduction
      FulillmentPacket''containing ubasicinformation''aboutmy 'tbenellts.''Trueand correctcopies

      ofthisemailand the fulfillm entpacketareattached hereto asSeottAttachm enl A and B
      respeetively. The emailincluded thefollowingstatement: RTHIS IS NOT INSURANCE-''
            8.      Thesecond em ail,which includedthe headingtt4core M emberPayment

      Rcceipty''tlmnked me formyorderand conirmed thatmy creditcard had been charged $119.95
      forthe 4coreHealth progrnm. Itstated thatm yètbenefits''included: tçpersonalW ellness
      Sm cialistm''Rprescription SavingsProgram,''tt ab Corp Blood Testing Discounts.''RM nual

      BioodTes.
              tPanell andtt1-800MD TelemedicineProgrnm.''A trueandcorrectcopyofthis
      emailisattached hereto asScottAttachm entC.
            9.      Ireceived athird emailon Jtme22,2017from RHealth InsumnceInnovations''

      ($tHIl'')atv-
                  chosizn@echosian-com.A trueandcorrectcopyofthisemailisattachedheretoas


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      SeottAttaehmentD.ThisemailpY mpted meto click on a link inorderto ureview and sign
      ApplicationForm ofSupplementalCoverageTx l.''n at> me day,Ireceived a fourth em ail

      from HIIatthe = meaddressthatlinked to eightse- ate Rsupplementalcoverage''applications
      thatlsubsequentlydownloaded. Trueand correctcopiesofthisfourth em ailand theeight
      supplementalcoverageapplicationsare attacbed hereto asSeottAttaehmentsE throushM .
      Each oftheeightttsupplementalcoverage''documentspurm rted to besigned by meon June22,
      2017.Ivaguelyrecallatonepointtherepresentative sending documentsto sign electronically.

      n erepresentativewaited on the lineasIcompleted thee-sign process. Ifeltrushed ashe
      ins% cted mewheretotap todisplay my signatm eon each document,withoutreviewingthe
      m aterial. Ialso recallgoingthrough a tiverilication''processattheend ofthe salescallduring
      which lwasmsked to verballyagreeto varioustermsand conditions,noneofwhichwereclearly

      explained ordisclosed.

             10.    The firstdocllmentassociated with theJune22 em ailfrom Health lnsurance

      lnnovationsthnnkedm ettforrequesting membership inM ed-senseGunrnnteed Association''and

      described myçtcoverage''asfollows:1)atthealtheducationprogrnm''consistingofStonline
      hemltheducation& fimesstraining''at$80m rmonth;2)the'tsentryAccidentPlan''at$47.40
      permonth;3)theCareintgonttdtntalsavings''planat$30permonth;and4)theRFrtedom Spirit
      PlusCostinclusiveofmonthlyMed-senseDues& PlanCost''(sic)providedbythe4tFederal
      Insurance Company''at$70.90 permonth.See AttachmentE.
                    Otherdocllmentsn*qnciated with theJune 22 email:

                    a. State thatlhad enrolled in theRM ed-senseGuaranteed Association''Rgroup

                        accidentinstlrance''policy,which included GAccidentalDeath and
                        DismembermentBenelits-''SeeAttachmentsG and 1;


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                    b. Referto thet'many Y nefits''nq- iatedwith thetsM ed-sense''a ociation,

                        includingusprint,ID resolution,Iloraldiscounts,gym America(sicl,vitamin
                        discounts,carrental,and carperks.''SeeAttachmentJ;and
                        DescribeGscrippal''asa servicethatprovides'tDISCOUNTS ONLY and is
                        N0T INSURANCE.''See Attachm entK.
             l2.    lreceived afourth emailon July 31,2017concerning m yRW ellnessPlan of
      America''mem% rship.A true and correctcopy ofthisem ailisattached hereto asSeott
      AttaehmeotN.The emaillisted six ttexceptionalhealth & wellnessbenesl''oftheplan

      purpodedlyworth$5076,including:1)$1395inprescriptionsavings;2)atelemedicineservice
      valuedat$1495;3)accesstouwellnesssN cialists''valuedat$727,4)$700worthofttdiagnostic
      testingo;5)Vthealt:ylifestyle''benentsworth$634,includingttlifeextensionnaturopaths''and
      Gcomprehensiveeducationallifestylecoaching'';and6)$125inktpetsavings.''Theemailalso
      contained the following disclaim er! t'
                                            THIS PLAN IS NOT m SURANCE and isnotintendedto
      replacehealth insumnce-''

                                    Caneellation and PartialRefund
             13.    Priorto receiving thesecmails,Ihad neverheard of4coreHealth, Health

      lnsuranceInnovations,M ed-senseGunmnteed Association, Freedom SpiritPlus,Scrippal,orthe

      W ellnessPlan ofAmerica. AsIstated clearly and repeatedly duling my initialcallw1t11tbe
      Simple110 1th representativea1needed health insurance. ldid notneed - and would neverhave

      agreed topay for- amedicalorprescriptiondiscountprogrnm,a personalwellnesssm cialist, a
      telemedicine service,death and dismembermentinsurance, lifestylecoaching,floral,m t,or

      vitamin discounts.orany ofthe otherttbenelits''described in theemailsand related documents.




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             I4.    Iconducted additionalrexarch and foundcomplaintsfrom m anyotherconsum ers

      who,likeme,had been 1ed to believe by SimpleHealththatthey had enrolled ina conventional
      health insumnceplan only to discovtr,aâerbeing charged,thattheyhad actually signedup for
      miscellaneousotherproductsandservices.

             l5.    On oraboutJuly 31,2017,Icalled SimpleHealth to figureoutwhatexactlythey
      had sold me. Icalled seven tim esand spoketo multipleemployees, noneofwhom could

      satisfactorily explain why IwasN ying fora medicaldiscountplan and adeath and
      dismem bermentpolicy asopposed to health insux ce. Everm ne lspoketo keptassuringme

      thatlhad a 'ehealth concierge''who would helpm escheduleappointments. However,noone
      seemed toknow who thism rson wasorbow tocontactthem .Exasperated, lasked tocancelmy
      policy.The employee on the phoneatthism intinfonned methatIwasnoteligible forarefund
      becausethe 15-day graceperiod had passed. He theneitherhtmg up on meortheline becnme
      discormected. Itried calling back butno oneanswered. Ialso tried emailing customerservice

      butthemessagebounced back asan invalid address.

             16.    On oraboutAugust6,2017,IfiledacomplaintagainstSimple Health with the
      BetterBusinessBureau. Around the time ofmy complaintto the BBB, Icalled Simple Health to
      cancelmy m licy.The representativeattempted topersuademe to keep the policy by arguing

      thatitwould be cheaperthan actualhealth insumnce. He also claimed thatIwould incur
      additionalcostsbecause open enrollmenthad ended.

             17.   Lessthan aweek Iater,SimpleHealth refunded $273.25 ofthe$348.25thatlpaid
      inenrollmentfeesand prem iums. In itsresponseto my complaint, Sim pleHealth incorrectly

     represented to theBBB thatIhadbeen tçfully refunded-''Although IbelievethatIam entitled to
     afullrefund,pursing one doesnotseem worth thetime oraggravation.


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      Istateunderpenaltyofperjurythattheforegoingstatementistrueandcorrect.

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  DearNew M em ber,
  W elcom e to 4CoreHeal th and thank you for becom ing a mem ber. W e look forward 'o serving you
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  health andwellnessneedsforyou to save moneyand live healthier.
  4CoreHea1th valuesw urmem bership and willworkcontinuously to m ake yourexperience a pl
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   Yoursatafractionofwhatcommercialbloodlabscharge,withnoinsurancerequired(oraccepted)

  CallourPersonalW ellnessSpecialiststaffat 1-888-451-6827,M onday to Friday from 9 am to 5pm EST
  formoreinformationonadditionalprogramstofurtherassistyourjourneytowellness.Thankyoufor
  placingyourtrustin4coreandweIookforwardtoassistingyouonyourjourneytowellness.

  Healthy Regards,
  4CoreHeaI th




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                      C RE E L                      ELL ESS BE EFI S
 Asa4CoreHealth memberyou'llhave unlimited FREE accessto the following W ellness Programsand servi
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  Labcorp offers unique blood testservicesto help you head offpotentialproblems with hundreds of
  blood testsand com prehensive panels.In addition,they costa fraction ofwhatcom mercialblood Iabs
  charge,withnoinsurance required(oraccepted).
  Take controlofyourow n healthwiththisinnovative blood testing service.

  .   Rem arkably affordable mem berprices
      No Insurance fequired oraccepted
      NearbylocationsbyZip code

                                        Testing Isaseasy as 1-2-3

  1. Call1-***-451-6827.
  2. Take the requisition you'llreceive by mailto a IocalLabcorp PatientService Centerblood lab.
  3. Have yourblood drawn atyourconvenience.

                                      Understanding yourresults!

  1. Yourresull willbe sentdirectly to you ...by m ail,e-mailorfax.Oryou can view them online. lt's
     yourcall.Resultstake 3 daysto 3 weeksto receive,depending en the cdmplexiW ofthe blood
     testsordered and yourchosen m ethod ofdelivery.
  2. Once you feceive yourtestrestllts.discussthem w ith yourown doctor.You can also call1-888-451-
     6827and ask one ofourknow ledgeable HeaIth Advisorsforhelp in understanding yourblood test
     results-*Blood testing services are available only in the continentalUnited states and Anchorage,
      AK.

  Certain restrictionsapply for residents ofMA,NY,N1,M D and Rl.Due to state billing Iaws, customerswlll
  receiveablooddraw kit(anadditionalIocalblooddraw feemaybeincurred).
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                             ww w .c oreHealth.com or* 111-888-451-6827
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  4core HeaIth M EM BER TERM S & CO NDITIONS
  1.   uFEm kE & W EI NFQQ PROGM MS BENEFIO DIK LOSURES.4CORE offers Its Members several
       ufestyle and W ellness programs. n ese programs offermembers enhanced wellnessopportunities,
       persnnaladvlce and dlscountsavingson selected non-medicalservices. AIIplan benefltsare servlced
       byWellnessPlanofAmerica(WPA).
       K ORE PAYMENTS T0 PROVIDERK4CORE does not make payments to the providers of medieal
       services.
  3.   4COREFEES. 4COREfeesareduemonthlyonyourorl    glnalactivationdateofeachmonth(the''Billing
       Date*). Paymentwillbe automatkally processed monthly based on the method ofpaymentyou
       selectedatthetimeofenrollmentandverifiedwith youforyourprotection.
  4.   M EM BER ACDVATION.Yourplan wlllbetome actlve on youreffedlve date and afterpayment has
       been received and processed,
  5.   4COREPRESCRIPTION M SISTANCEPROGM M (PSP).lfyouareeliglbleandutlllzethePSPprogram you
       agreeto payto 4COREthefollowing:(i)amonthlyadministrativesewicefee for4COREmembershlp
       during the Term ofthisAgreementand any renewals;and (li)ifyou are eligible and utlllze aPAP
       program an additionaladministration fee permonth permedicationwillbe debited monthly foryour
       approvedmedicationls)that4COREcanassistyouwith.PleaserequestthefullPrescrlptionAssistante
       Program Terms&conditionsfrom yourPersonalSpecialist
  6.   TERM INATION.4CORE reserves the right to terminate a plan without notice for non-payment of
       monthly plan fees.Snthe eventyou need assistance withpaymentterms.please contactyourPersonal
       Specialistat1-888-451-6827andwewillgladly assistyou. Monthlyfee payments,made bycheckthat
       are nothonored bv member'sfinancialinstitution forreâsonsincluding.butnotIimited to.insufficient
       funds,willincura returned checkfee of$25.00 imposed by 4CORE. Thisreturned check fee and
       assoriatedmonthlymemberfee shallbedtle andpayable immediatelybymember.Failureby member
       to pay the returned checkfee and associated monthly membership feecould resultin termination of
       member's4CORE plan,withoutnoticeto member,fornon-payment.
  7.   CANCELG TION POLIW . You may cancelyourplan within your 15-day TrialPeriod,which beginson
       yourfirst Effective Date.and receive a refund ofw ur Initlalfee provided you have notused any
       benefltsinthe4COREpl   an.The enrollmentfeeisNON-REFUNDABLE.
       To câncelyourplan during the TrialPeriod,formâlwritten notice ofcancellation mustbe received by
       4COREbythe Iastdayofthe TrlalPeriod.
              * To cancelyourplan afterthe TrialPeriod.form alw ritten notice ofcancellation m ust be
                 received by 4CORE 30 days priorto your next monthly Billing Date otherw ise yournext
                 month'sfee willbe automaticall y processed based on the method ofpaymentyou selected
                 atthe timeofenrollmentandverifled foryourprotection. Please note thatthe enrollment
                   feeisnon-refundableafteryourTrialPeriod.Refundswlllbeprocessedwithinten(10)days
                   ofcancellation.
                   Foryourprotection,4COREwillnotprocessynurmembership cancellation requestwithout
                   yourw ritten authorizationand signature onthecancellation docum ent.Please includeyour
                   m embership ID numberon any correspondenteincludingthecancellation document.
                   To cancelyourprogram,pleasesend writtennotice ofcancellationto:

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    8.      QUESTIONVISSUERESOLUTION.Ifyouhavean#questionsaboutw ur4COREmembership,pleasecall
            your PersonalSpecialist Services at 1-888-451-6827. ticensed agents and/or Speclalist Servltes
            representativeswillbe happyto assistyotl.
    9.      CHANGE IN TERM S AND CONDITIONS.The 4CORE membership may be discontinued ormodified
            and/orsubjectto additionaltermsand condlti
                                                     ons.4COREreservesthe rightto change orterminate
            anyterms,tonditions'servitesorbenefitswithoutIimitatlon. Priornotice ofany materialchange will
            beprovidedto youwheneverposslble,ifrequiredW Iaw.Lifestyle & WellnessFeaturesand Benefits
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    l0. OTHER TERM SAND CONDITIONS.
       @ 4CORE isnota Iicensed insurer,HM O orunderwriterofhealthcare servites. No portion ofprovider's
         feeswlllbe reimbursedorpaid by4CORE#norwillpaymentsbemade directlyto aprovider.
         @ Participatingprovidersmaychangewithoutnotice and programsmayva@ bystate.
           Thisprogom and contcactare notprotected byanystateHeaIthand LifeGuaranteeAssoclatlon.
         @ The member acknowledges that the providernetworks may have access to personalinformation
            protectedbyHea1thInsurancePolabilityandAccountabilityAct(HIPM )andapprovestheIimiteduSe
           ofsuch lnformation bythe networks.
           4CORE does notwarrantany professionalservices and the participating providers and faci
                                                                                                lities are
           solely responsible forthe professionaladvice,sewicesand treatmentrendered to Membersand their
           afflliatesexpresslydistlalm anyIiablliW wlth respectto such matters.
           DISPUTE RESOLUTION. lnthe unfortunate eventofpossiblecontemplation oflitigation,and because
           both the Memberand 4CORE realize thatIitlgatlon should be avolded wheneverpossible,itisagreed
           that litlgatlon should be avolded. Inthe event thata MemberorW ellness Pl           an of Americ:
           cannotresol  ve a dispute arislng outthese termsand eonditlonsand Ifthe dlspute cannotbe settled
           through negotiation,tbe Parties agree first to try in good faith to settle the dispute by mediation
           before resorting to arbitration. Iitlgation, or some other dispute resolution procedure. A written
           requestshallbe made by one partyto the otherparty to Inltlate the resolutiin process.The Parties
           furtheragreethatthesetermsandconditionsshallremain in effectuntllsuch dlsputesare resolved or
           settled bythe appropriatejudicialprocess.
    12.    VENUEAND APPLIG BLE G W .The Memberagreesthathis/hermembershipshallbe governed by the
           lawsofthe Rate ofFlorida and thatappropriate venue forany dispute.judicial,orquasi-judicial
           proceedingshallbe insaidstate.

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      refund withyourname and membernumberto HeaIth Insurance Innovations218 EastBearss
      Ave.Suite325,Tamqa.FL33613orfaxto:877-376-5832.Youmayal
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     servicesatcedain heal th care providers who have contcacted with the plan. You are
     obligated to pa#foralIhealth care services atthe time ofyourappoi ntment. Savings are
     based uponthe provider's normalfees.Actualsavingswillvary depending upon Iocation and
     specisc services orproductspurchased.Please verifysuch serviceswith each individual
     provider.Thediscountscontainedhereinmaynotbeused inconjuncbonwithanyother
     discountplanorprogram.AIIlisted orquoted pricesare currentpri
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     providersandsubjecttochangewi
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     padicipating providerare notdiscounted.From time to time,certain providers mayoffer
     productsorservices to the generalpublic atprices Iowerthanlhe discounted pricesavailable
     through this program.In such event.members willbe cbarged the Iowestprice. Discx nts on
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     you willn need to selectanotherprovider.Providerscontracted by Careington are solely
     responsible forthe e professionalad Mice andtreatrnentrendered to m embersand
     Carelngton disclaim sany Iiabilitywith respectto such matters.
     ComplaintProcedure:Ifyouwould liketo 5le a complaintorgrievance regarding yourplan
     membership,you mustsubm ityourgri     evance in writing to:Careington lnternational
     Comoration,P.O.Box 2568.Frisco.TX 75034.You have the rightto requestanappealifyou
     are dissatissed with the complaintresolution.Aftercompl  eting the complaintresolution
     process and yotlremaindissatisfied,youm aycontactyourstate insqrancedepartment.
     Group BillT&C rev02.01.13
     Disclosure:




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      THIS PLAN IS NOT INSURANCE and Is notintended to replace health insurance.This
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       andoes notmeetthe minimum creditable coverage requiremenlstlnderM .     G .L.c.111M and
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      nota Medicare prescriptinn drug plan.The range ofdiscounts willvary depending onthe type
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      request.You maycancelwithin the first30 days afterreceiptofmembership materialsand
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        M ed-sense Guaranteed Associatlon
          * Phase verify vour understanding tbat you are purchasing a membership in tbe Med-sense
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        Scrippal
          @ Thisprogram provides 9IK OUNTS ONLY and i   s NOT INSURANCE. Discounts @re available only
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        Paym entAuthorization
       I am signing up for an automatic payment plan.I agree that Hea1th Insurance
       Innovations CHII') or its authorized agent may automatically debit my bank
       accountorcreditcard forthe amountdue on oraround the paymentdue date.
       Iunderstand thatthis authorization willremain in electuntilIcancelitin writing,
       and Iagree tonotifyHI1oritsauthorizedagentinwritinjofanychangesin my
       accountinformatlon orterm inatlon ofthisauthorization,whlch m ustbe received by
       H1Ior îts aqentat least 7 days pri
                                        or to the nextbilling date.lfthe above-noted
       periodic paymentdatesfallon a weekend orholiday,1understand thatthepaym ent
       may be executed on the nextbuslness day.
       1 understand that because this is an electronic transaction, these funds m ay be
       withdrawn from my account as soon es the above-noted periodlc transactlon
       dates.1agree thatHI1ormy financialinstltution can cancelautom atic paymentfor
       my accountforany reason,atany time,with orwithoutpriornotice to m e.ln the
       case of an ACH Transaetion being rejected for Non Sufficient Funds (NSF),1
       understand that HII or its agent m ay, at its di
                                                      scretion, attem pt to process the
       charge again within 30 days,and lagree to an additional$25.00 charge foreach
       attem pt, which willbe initiated as a separate transactlon from the authorized
       recurring payment.1acknowledge thattheorigination ofthesedebits to m yaccount
       m ust comply with U.S.Iaws.This payment authorlzatlen Is for the type of bill
       indicated above.
       1 certify that lam an authorized userofthi   s credit card orbank account.Iagree
       not to dispute this recurring billin: with my bank or card îssuer so Iong as the
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      AppllcantSignature:                                      Date:Jt
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                                    DECLAM TIO N O F VICK ISK ORDILIS
                                        PURSUANT TO 28U.S.C.j 1746
                 1,VickiSkordilis,hertbydeclareasfollows:
                        M y nam e isVickiSkordilis. llive in Ohio and am overeighteen yearsofage. I
          havepersonalknowledge ofthefactsstated inthisdeclaration, and ifcalled asawitness,lcould

          and would com petently testify to thesesame facts.

                        lnearlyNovember2016,Iwaslookingonlineformajormedicalhealthinsurance
         duringtheopen enrollmentperiod forObamacare. Iwanted to purchasehealth insurancefor

         myselfand myson thatwouldcomplywith theAffordableCareAct's(1ûACA'')requirements           .


         Aftersearchingonlineforresources,1subm ittedmycontactinformationto awebsiteoffering
         health insurance,and received severalcallsin return. On oraboutNovember 14,2016, Ispoke

         w ithsom eonenam edJoshuaSm ith from acompany calledSimpleHea1th.
                        Joshuatooksomebasicinformationaboutmy son and me. ltoldhim thatI

         wantedtopurchasemajormedicalhealthinsurance.Hetoldmethathecouldoffermeaplan,
         forwhichCoventryw asthecarrier,and itwassomehow alsorelatedto Aetna,butIdo not
         rem em berexactlyhow.Thesewereinsurancecompanynam esIwasfam iliarwith,so 1felt
         com fortablethathewasoffering mequalityhealth insurance.
                       lam a retired nurse,and having worked in health eare, Iknew exactly whatkind
        ofcoverageIwanted,so 1askedJoshuamanyveryspecificquestions. IaskedJoshuaaboutthe
        costsforcheckups,forroutinetestssuch aspap sm ears and mammograms,and coverage for

        surgery. Itook noteswhile talking with Joshua,and a trueand correctcopy ofthose notesare

        attached hereto as Skordilis Attachm entA. Asretlected in m y notes, Joshuatoldm ethatone
        checkup peryearwould becovered fully,along with onepap smear. Hetold m ethata

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                          DECLAR ATIO N O F G ERTRUD E SLA W SON
                                 PURSUANT TO 28U.S.C.j1746
  1,Gertrude Slawson,hereby declare asfollows:

                 M y nam e isG ertrude iû-l-rudy''Slaw son.llive in California and am overeighteen

  years ofage.lhave personalknowledge ofthe factsstated in thisdeclaration,and ifcalled asa

  w itness,lcould and w ould com petently testify to these sam e facts.

                 On oraboutD ecem ber5,20l6,lbegan the processofattempting to obtain

  Am erican health insurance coverage in advance ofa planned perm anentm ove from Canada to

  the United States.lperform ed a few online searchesand provided my contactinform ation to

  severalw ebsitesthatclaim ed to offerhealth insurance.Afterspeaking w ith severalother

  providers,Ireceived a telephone callfrom a com pany called Sim ple Health. As leventually

  Iearned,Sim ple Health sellsproductson behalfofanothercompany,Health lnsurance

  lnnovations(û(Hll''). Atvariouspointsduringtheexperiencesrecountedbelow,lspokewith
  representativesofboth Sim ple Health and Hll. ltism y understanding thatSim ple Health sells

  policiesdirectly to consum ers and thatH lIadm inistersthose polieies.

                 linitially spoke w ith a Sim ple Health representative nam ed N ellie.The num ber

  shecalledm efrom was1-(800)-594-4446(ext.1738).linformedNelliethatIwasmovingfrom
  Canada to the United Statesand thatlwished to purchase a health insurance policy form yself

  and m y husband thatw ould becom e effective on January 1,2017.lasked N ellie whatSim ple

  Health could provide form y husband and m e.N ellie said thatthe parentcom pany ofSim ple

  HealthwasCoventryHea1th,anationwidepreferredproviderorganization(PPO)andthatthey
 w erethe largestPPO in the nation.

                N ellie told m ethatthe policy she offered would coverdoctor's visits, lab work,

 and surgicalcosts,thatitrequired no deductible,no claim form s,and thatithad no lim its. N ellie
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  did m ention thatthe plan w as a lim ited plan and w hen Iasked w hatthatm eant,sheexplained

  thatthe policy was $Iim ited'only in thatitw ould notcoverany m aternity expenses, m ental

  health clinic costs,orthe costofalcoholrehabilitation,butthatthe policy would cover

  everything else.N ellie also explained thattheelim ination ofthe coverage costsofm aternity

  care,mentalhealth care,and alcoholrehabilitation from m y plan wasthe reason thatm y

  prem ium underthe Sim ple H ealth policy w ould be m uch lessthan prem ium sforcom parable

  policiesfrom otherproviders.

                 N ellie also said thatbecausethe insurance plan was a PPO,Icould choose any

  doctorIwanted andthatthemostIwould havetopay would be$50.00,ifanythingatall.Nellie
  said thatthere would be no deductible for hospitalvisits because itwasa ûtfirstdollar''coverage

  plan.Iunderstood thisto m ean thatIwould be covered by m y health insurance policy from the

  Grstdollarofany m edicalexpenseslincurred.The plan w asalso said to include discountson

  dentaland eye health expenses.

                 The costsform y enrollm entw ith Simple Health included a prem ium paym entset

  at$238.71amonth and anenrollmentfeeof$155.00.1paidthree monthsofpremiumsonthe

  policy from Janblary-March20l7.TheoverallamountIpaid SimpleHealth was$87l.13,
  constittlting the three prem ium paym entsand the enrollm entfee.Iform ally cancelled the policy

  effective M arch 3l,20l7.

                 lwasim pressed by w hatN ellie described and thoughtthis m ightbe m y best

  option for14ea1th insurance.How ever,Ialso rem ained som ew hatskepticalofNellie'sclaim sand

  Ibegan to ask questionsaboutwhatwould happen w ithin certain m edicalscenarios ifw e

 purchased the insurance policy she w asdescribing.Irepeatedly asked N ellie whatw ould happen

 ifeitherm y husband orlgotsick.Nellie alw aysprovided the sam e answerto thatquestion,
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  nam ely thatthere w ould be no co-pay and no deductible.Ialso repeatedly asked itso,you m ean

  to tellm e ifthateitherm yselform y husband gotsick and ended up in the hospital,we w ould be

  covered?''The answ erfrom Nellie to this question wasalways$ûYes.''M y husband wasalso

  listening to my telephone conversation w ith Nellie and he can verify thatlasked these questions

  and received those answersfrom N ellie.

         8.      N elliethen transferred m e to Caroline in Simple Health'sverifications

  departm ent.Thisportion ofthe callrequired m e to answ erspecitic questionsregarding

  enrollment(forexample,whetherIhad any pre-existing conditions)and my responses,along
  w ith this portion ofthe call,w ere recorded.

                 Priorto beginning the recorded portion ofthe call,lw astold by Caroline to say

  yesto alIofthe questionsasked during the recorded portion because those questionsw ere based

  on m atters thatlhad previously discussed w ith N ellie.Caroline also told m e before Istarted the

  recorded portion ofthe callthatthe questionsshe asked would be worded slightly differently

  thanthesubjectmatterwehaddiscussed,buttonotworryaboutit.CarolinewarnedthatifI
  asked any questionsduring the verification process,Iwould eitherbetranstkrred back to afl

  agentorbe required to startthatportion ofthe verification aIIoveragain.A IIofthis struck me as

  odd and slightly suspicious. How ever,because Ihad been on the phoneforapproxim ately tw o

  hoursby thatpoint,Itook heradvice and w aited untilthe end oftheveritscation to ask m y

  questions.

         10.     The autom ated recording thatplayed during this portion ofmy telephone callw ith

  Sim ple Health gave me the opportunity to ask questions atthe end ofthe recording. Iw anted to

  ask severalquestionsand Iw astransferred to a m anagernam ed George. Itook thisopportunity

 to confirm thatw hatlhad been told by N ellie regarding the term s and features ofthe insurance
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  policy w ascorrect.In response to m y questions, G eorge told m e thatwhatN ellie had described

  w asaccurate and even volunteered thathe hasthis exactsam e insurance policy forhim selfand

  hisw ife.

                 G eorge also told m e thatIcould view the policy Ihad purchased online and thatl

  had thirty daysto decide w hetherIwanted to purchase itornot. Iattem pted to view the policy

  online butcould only view the dentaldiscountportion ofthe plan.

                 FTC staffprovided m e w ith whatthey believed could be an audio recording ofm y

  salescallw ith N ellie thathad been m ade by Sim ple HeaIth. FTC stafffurtherinform ed m e that

  the agency had the recording professionally transcribed and provided m e w ith acopy ofthe

  transcript. A true and correctcopy ofthetranscriptisattached hereto as Slawson Attachm ent

  A . 1have review ed the audio recording and can confirm thatitis, in fact,theconversation with

  Nellie thatIdescribe above in Paragraphs 2 through 8 .




                Because Iwas notable to view the policy docum entsonline, lcalled Sim ple

  HeaIth again and spoke w ith a representative nam ed Sidney. Sidney said thatlw ould notbe able

 to view the policy tlntilitw entinto effecton January 1, 20I7.Due to these circum stances,lw as

 notable to review the policy before purchasing it.Ihad to putm y trustsolely in theassurances

 m ade by Sim ple Health's representatives.

                M y husband and Im oved to the United States on Decem ber l7, 2016.W e

 originally Iived at12370 CopperQueenW ay,Oro Valley,AZ 85755and now reside in
 Bakersfield,CA .On January 15,2017,lwasadm itted into the emergency room in Oro Valley

 w ith severe abdom inalpain and w asdischarged two hours laterw ith a prescription for

 antibiotics.
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         15.     Exactly a week later,my husband was adm itted into the em ergency room and

  underwentan em ergency cholecystectom y.A fterthese incidents, Iw as happy to think thatIhad

  health insurance coverage,untilthe billsforthese em ergency room visitsarrived. During 170th of

  these visits,lprovided hospitalstaffw ith m y HIIinsurance cards. Each tim e before IIeftthe

  em ergency room ,Iasked hospitalstaffw hetherIhad any paym entissuesto take care ofand

  each tim ethey said Iwasgood to go.

                 ln early February 20l7,follow ing ourhospitalvisits, 1received several

 docum entsin the m ailpurporting to be inform ation aboutm y insurance policy and itsbenefits.

  On February7,20l7,lreceived an approximately $I1,000.00 billformy emergencyroom visit
 on January 15,20l7.Icalled eitherH IIorSim ple HeaIth and spoke w ith arepresentative nam ed

 Christopher,who told m ethatthe plan Ipurchased w asa tw o-tiersystem Onetierofthe plan
                                                                         .




 was a cash benetstrate and the othertierwasthe contracted rate. Christophersaid thatthe

 hospitalwas supposed to apply the contracted rateto my bill, w hich in his opinion,likely had not

 been done.

                Christophertold m e to calithe hospitaland m ake surethatthe hospitalhad

 provided the insurance com pany w ith the propercodes. lattem pted to contactthe hospitaland

 ask aboutthe codes,butno one atthe hospitalcould help m e and none ofm y voicem ail

 m essages lleftwere everreturned.

         l8.    A fterperform ing som e additionalresearch,ldiscovered thatthe insurance policy

 Iw assold by Sim ple Health was considered a gap insurancepolicy and itsterm sw ere nothing

 like whathad been explained by Sim ple Hea1th. ln m y opinion,the actualbenefitsofthe gap

 insurance policy w ere relatively w orthless.
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                 In additionalconversationsw ith Hlland Sim ple Health, Ilearned thatm y policy

  does notrequire H IIto pay m edicalexpenses on m y behalf, itonly allow sH lIto negotiate

  expense rateson m y behalf.lalso learned thatm y medicalexpensesw ould have been lesshad I

  attem pted to pay the hospitalm yselfin cash w ithoutany insurance.

         20.     During additionalconversations w ith HIIand Sim ple Health, Ispoke to num erous

  people,including Lalu,Deloris,Louis,Jacklyn, GabrielC.and Terina,m y case m anager,w hose

  telephone numberwas(954)-606-9070.Itwasvery difficultto contactstaffmembersatthese
  com paniesand lwasoften sentback and forth from differentphone num bers. Itwasalso very

  difficultto geta straightansw erto any oflny questionswhen speaking w ith these individualsor

  even to determ ine whatcom pany they w ere representing.

                 Ifeelm isinform ed and m isled by Sim ple Health and HlIregarding the insurance

  plan Ipurchased.M aterialinform ation wasw ithheld from me and Iwas notallow ed to m ake an

  inform ed decision,w hich initially Ieftm e w ith m edicalbillsstem m ing from thetwo em ergency

  room visitsofapproximately $6l,000.00.Basedon myownnegotiationswiththehospitaland
  theirunderstanding ofthe problem s Iencountered w ith Sim ple Health and H Il, the hospital

  offeredtoadjustmybillstotheratethatIwotlldhavebeenchargedhadInothadanyhealth
  insurance ataIIand paid in cash by m yself. Thisreducedmy billsto approximately $31,000.00.

 Currently,m y husband and Iare paying sm allportions ofthese billsm onthly by ourselvesw ith

 no assistance from either Sim ple Health orH ll. Thissituation hasobviously caused m e and m y

 husband atrem endous am ountofem otionaldistress.

                During m y initialregistration processw ith Sim ple Hea1th, lw asgiven the

 telephone num berofKaris360,which wasdescribed to m e as a service thatcould negotiatethe
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  reduction ofm edicalexpenses notcovered by m y policy. M y contactatKaris360 w aslisted as

  Jerem y Seaton.

                 Desperate forany form ofassistance,Icalled Karis360 shortly afterreceiving the

  initial$ll,000emergency room bill.A representativetoldmethatthey would send mean e-mail
  w ith a form to com plete where Icould describem y situation and claim s in orderto begin the

  process.Iquickly com pleted the form and e-m ailed itback to Karis360. Three weeks Iater,after

  no response,Ireceived a callfrom anotherKaris360 representative w ho inform ed me thatthey

  were kklooking into''m y situation and instructed m eto com plete yetanotherform , which Ifirst

  had to obtain by calling yetanothertelephone num ber. The representative w ho answered w ho

 took m y callatthis new num berseemed to have no idea whatlwastalking aboutand no

  inform ation aboutm y case.Ilaterlearned thatthisnew telephone num berw asthe num berfor

 m y hospital'sbilling departm ent.

                Aboutone m onth Iater,afterno response Icalled the new telephone num ber

 again.Yetagain,the hospitalrepresentative who answ ered m y callcould f5nd no inform ation

 abotltmy case. She even said thatshe did notthink thatthe hospitalengaged w ith the type of

 services thatKaris360 claim ed to offer.How ever,w hen lm entioned thatIhad received a

 reduction in m y bills afterthe hospitalagreed to chargem ethe cash rate, the representative said

 thatisthe m ostthatthe hospitalorKaris360 w ould have been able to accom plish form e. In

 otherwords,Karis360 w asan infuriating, w orthlesswaste oftim e.

        25.     lcancelled m y policy effective M arch 31, 2017.Ihad been previously told thatl

 could receive a refund iflcancelled the policy w ithin thirty days ofpurchase. ldid notm ake any

 attem ptsto obtain any refunds.Dueto the trem endous stresscaused by the eventsofthe

 preceding weeks,the priorcharges lincurrcd through Sim ple H eaIth and HlIw ere notasm uch
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                          Sim ple H ealth Plans

                            December5 2016            ,
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           Telephone Conversation Between Fm Jy and N elly




                        Condensed Transcriptwith W ord Index




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                              Telephone Conversotion BetweenTrudy ond Nelly
 Simple HeoIth Plons                                                                                                   12/5/2016
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                                                                    5                 NEIaL't Iie.l1o. thz: t.s N.11?.
                                                                    '?                ANSETTE: 11i# Nellyj t>j-a t.   s M neuue from
                                                                    8     M alth Inevrlnee Sez.viee:. ! hav'e 'Prudy stavsln an
                                                                    #    tln* )toe- Srte*$ lcokinq to boy th* 5370 for N*r anf:t
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                                                                   11                 NZLLNt Okay.
                                                                   12                 ANFW TE: 5heza f.rtm Ar1zonl. L.L me knou
                                                                   13    *1* r$ yrm ?re ready.
                                                                   14                 Nctn ; 1 em, thank you.
                                                                   15                 M1>I'H 2t Q'hank l'ou.
                                                                   1:                 Trudy. tbank you for holdtn4. l alreadk.
                                                                   17    14.'
                                                                            tv* tlte emzol.llpent zzepleztat.tukgv vll ktte ll;1e for
                                                                   1% youz Qkay: Favq q gT/ot day.
                                                                   19               NE&L'I 7hânk vou.
                                                                   2e               TEUD: EL&W:QN: Thaak yqu.
                                                                   21               NELLV: Good notntnq.
                                                                   22               TRUDY SLAWXON: M1.
                                                                   z3               IELLA': >vw ar* you;
                                                                   24               CRUD' SLANSON: J#m good.
                                                                   15               NEtt': Ny name ls Ke!1y. Trm çoàng to hetp


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Simple Heol+ Plons                                                                             12/5/2016
                                                        5                                                   7
     you withyx ealordabl  e healthinsu- cequote.Jtst              NELLY;Tlx - the 1- namevtbeItqteris
     lo Ietyouknow thatyour- thiscallmay btrecordgd         C? Sorry,ldidn'tlxaryou.
     forqualityassurvmct.JG lctfptverif y your                     TRUDY SLAW SON:œ ay.The 11- l-terisC
     information. You firstnametsT-R-U-D-Y.                 like in Charlie.
            TRUDY SLAW SON:n at'sco> t.                            NELLY:M m-hmm.
           NELLY: AndyourIastnameisS likeSam,L                     TRUDY SLAW SON:Right?
     Iike Luis.A-W .So N.                                          NELLY:M m-hmm.
           TRUDY SLAW SON)Tbat'scorrect                            TRUDY SLAW SON: R asin RomY .
           NELLY:n- ofbirth                                      NELLY:Mm-hmm.
           TRUDY SLAW SON:n at'scorrect                          TRUDY SLAWSON:A asin alpba.
            NELLY:Andthenyou*ree king roryooand                   NELLY:M mAmm.
     yourbtkqe d.                                                 TRUDY SLAWSON:Iasin lndiw G asin
           TRUDY SLAW SON:n al'scorrect                           e.
            NELLY:Perfect Andyx 'reealling from                   NELLY:GG it.n ankyouverymuch. And
     Arizaan                                                hislastname?
            WeareSimpleHealllu W ereprexmtmostof                  TRUDY SLAW SON:Sa easmine.
     lhemajorA-ratecarricrs.n al'swhywc*regoingto                NELLV Perfect.Andhisdateofbirth?
     lx ablctohdpyoutogetthelx'stpl
                                  anattlx best                   TRUDY SLAW SON:1tis              he        -
     jxicc.Doyouhaveinsurancerkbtnow?                            NELLY:Mm-hmm.
           TRUDY SLAWSON:Alb- a11/a1thCam.yes.                   TRUDY SLAWSON:- I9W
           NELLY:Andwhy arcyoulooking forother                   NELLY:AndMsheightandweight?
     options.ma'am?                                              TRUDY SLAWSON:Hi sheightis
           TRUDY SLAW SON: Wdl,1'm looking -                     NELLY:M m-bmm.
          UNIDENTIFIED MALE:(lnaudiblc).                         TRUDY SLAWSON:Andbisweightis
          TRUDY SLAW SON:Okay.W hatarewe l
                                         ooking                  NELLY: Perfecklhank youvery much.

                                                        6                                                   8
     for? Whatarewekmking foO Istlh:twhatyml're             whm isyourœcupxionvma'am?
     askingme?                                                   TRUDY SLAWSON:Myoctuo ni:optitian.
          NELLY:YG what- ifyoulmveinstm.   mte.                   NELLY:Oli   cim e ay.AnA rigbtnowvhow
     wbatkstherex :nlbatyou*rele ing artmnd?                muchareyoupayingmonlhly Ny - mte lylwne - how
          TRUDY SLAW SON:0b,becasee 'reinCanada             muchisyourmoe lyN ymentfœ yourlnsurance?
     znd wew movlng toArizona.Sowhenwemtto                        TRUDY SLAWSON: It*sabout$220.
     Ariz- ayweneed insurance.                                    NELLY:Forlmth?
          NELLY:œ ,okay.n etmetbG youhavcis                       TRUDY SLAWSON:Yep.
     nm goin:to = :œ youR ymœe.goti
                                  t                               NELLY:Thatiswilh dcntalalxlvisiœ or
          TRUDY SLAW SON:Y t'sright So that'swhy            withx tdenlalaodvision?
     webaveto.                                                    TRUDY SLAW SON:n at*swith dentaland
          NELLY:Andyou'renotinAri zonayet.When              vision.
     areyougoingtolx inArizona?                                   NELLY:œ ay,tha 1eP:seeif1<anfltk
          TRUDY SLAW SON:No.W e'regoi  ng to1x in           youe      ingsimilae.220.y% >y?
     ArizonaJanto 1.                                              TRUDY SLAWSON;Yep.
          NELLY:Okay,ga it M ayIhave.pjeam                        NELLY:Lelnx writeittlownlo seewhx can
     yxrhtightandweilt?                                     IdoCoryx.H/efully.Icanfmdy:ue         inw
          TRUDYSLAWSON:MyIaigbtisœ e my                     okay? WbatIgomgtoIxk..
                                                                                 -
     wcigbtisœ .                                                 TRUDY SLAWSON:Okay.
          NELLY:Perfœt.AM thenwhatisthename                      NELLY:- isrtlra PPO and thatm y youcan
     ofyourhdl% nd?                                         lookany--foranyre or.It'seasierforyouguym
          TRUDY SLAW SON:Craig.                             lknow latyml'removing and:PY all  owsyœ to
          NELLY:Greg?                                       choox anydxtor.Andtleotherthing thx I'm going
          TRUDY SLAWSON:Craig,C asinCllarlie,R-A-           to 1
                                                               * foryou ..
     l-G.                                                        TRUDY SLAWSON:Okay.

2(Pages5to8)
                                            ForThe Record,Inc.
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SimpleHeoIth Plons                                                                                12/5/2016
                                                       9                                                   1I
          NELLY: - isverylow outocyourpocket                aregoingto receivedoctorvisieydiagnostictesting
     expenses,okay?                                         forbloe M dIab,threedifferentepîionsfor
          TRUDY SLAW SON:Okay'   ,thatwouldthegood.         medicatinn,medical,surgical,hospitalcoverage,and
     n ankyou.                                              something thatisveryimportanti sthatthisplan
          NELLY: S: Ietmepl aceyouonholdfor                 bavenodeductibll thisplarbhavelleperiod fe
     aroundoneminute,pleam toseewhatccnIgelfor              açcidentalhnrfits,noclaimsform to fileandno
     youguys,ou y? Don'tbangup,                             timh ontheplanusagewithintbeFirstHeahh and,
          TRUDY SLAWSON:Okay,sounds- okay,sounds            again,zerode uctible.
     good.                                                        Ld me&skyou,areyoulakingany
          NELLY:Thankyou,thank you.                         medicationsrightnow?
          TRUDY SLAWSON:Thankyou.                                 TRUDY SLAW SON:Rigbtnmv,bothmyhusband
          (Onhold.)                                         and1aretakin
           NELLY: Hello.                                         NELLY;n atisforwhatt
           TRUDY SLAW SON:Helln.                                 TRUDY SLAW SON:n at'sfo
           NELLY: Hi  .solry forthewait,butIhave                 NELLY:Oh,okay.Onlyone- eachoneof
     verygood Ilewsforyou andyourhl zsband.Andbased         you? n at'sit? Onl
                                                                             y onemtdicatiœ ?
     offyourappli cati
                     on.Iwasableto getyouapproved                TRUDY SLAW SON;Yep.
     i
     ntoaPPo A-ratecanier,Youknow cxndlywhatPP0                  NELLY:Okay.
     mcans.righttï                                               TRUDY SLAW SON:Yeah.
           TRUDY SLAWSON:No.                                     NELLY:Andthatmedication i  sgenericorit
           NELLY:PPO ispreferredprovi   der                 i:namebrand?
     organization,whicbmeansthatyotlcanchonseany                 TRUDY SLAW SON: It's- lthinkit'sanamv
     dodorandyoudon'tneedareferraltoseeany                  brand.
     specialist,n isprogram isncrmall
                                    y for-                       NELLY:Okay.
           TRUDY SLAWSON:Okay.                                   TRUDY SLAW SON:n at'sabrâhdnmne,bul,

                                                       10                                                  l2
           NELLY:--alal'
                       gegroup(inaudibl
                                      c)but                 youknew,1thinkit'savailableinageneric.
      becaux weam brokers,that'swhy youcanbepartot-               NELLY: Okay.
      lhisgrouy Doyouhaveapentow'
                                ritedowmthe                       TRUDY SLAWSON:Butl'm notsurc.
      inronnatlon thaîl'm going îo giveyou?                       NPELLY; Don'tworry.
            TRUDY SLAW SON:Ycs,ldoyyes,                           TRUDY SLAW SON;But1don'tcare.Iwould
           NELLY:Theinsurancethatyou'vebecn                 takethtgvngliçfor(i
                                                                              naudiblt).
      approved i
               sFirstHeallh.Firsll'
                                  leallh,nationwidc               NELLY:Okay.And have-
      PPO network.                                                TRUDY SLAW SON:Itdoesn'tmatterto mc,
            TRIJDY SLAW SON:Okay,                                 NELLY: Havebecn you becndenied forany
           NELLY; FirstHealth belongsto --                  health insurance?
           TRUDY SLAWSON:Okay.justa- nation?                      TRUDY SLAWSON:No.
            NELLY:NationwidcPPO network.First                     NELLY:Dtzyousmoke?
      HeaIthbelongstu Covcntry lnsurance.IfyouGooglc              TRUDY SLAW SON:No.
      it,you'rtgoin:lowritcdownFirstHca1thandwhen                 NELLY:Okay.Andyou'rcmoving.Andhow
      yotlseetheoptlcnsthatitsaysFirstHea1th dot            many timesaveragedo youvlsitthedcctorinayear,
      Coventry Health,that'stheone.Youcan Iog in and        morcorlcss?
      you cansvritedown your--                                   TRUDY SLAW SON:Idon'lknow.n ree.
            TRUDY SLAW SON; Okay.                                NELLY: Three? Okay,noproblem.Okay.
           NELLY:--zipcodeandseeallofthc                    Letmetellyoutbe- thepremium lhatlgotforyou
      provie rsthatyougregoing to havectose to you,         and yourhusband isonly 238with 71cents.Thlsis
      okay? This is--                                       with dentaland visitm included,138with 71cents
            TRUDY SLAW SON: Okay.                           with dentaland visionincluded.n isisanationwide
           NELLY:nisisoneofthclargeslPPO                    insumncewhichmeanstbatifyournoveinsidethc
      network in thecountry withmorc t
                                     han amillion health    Unlîed Statr.sterritoriesyoustlllcovered.You
      careprovidvrson lhecon/act.You andyourhusband         don'tneedtocaneelyeurinsurance.okay?

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Simple Heolth Plons                                                                        12/5/2016
                                                   13                                                 15
          TRUDY SLAW SON: œ aw - d.                          Pxx upf-
                                                                    ' -
           NELLY:3* 9:oneev *aeM feetlmtb                    R UDY SLAWSON:Okay.
      oiy 15$.Y - llm :fe ql-t- te your                      NELLY:-*ifyoubuynœnce d
      pxmiam 1:- Nklgto' e.Fe ex- kvin                  e p'% ,te e'sa+ > t* heaolrup
      yx rcm lake 11 .r+ ' $? a l'sw urv                to$35.Ifyœ d-'=-k)be gule t,il> Iv tonm
      ril t?                                            fe- > + *:12.Fœ - *.inmyc=etlu 1
            TRUDY K AWSON:             > p.             hve              1%e > > rie* I*&y
           NELLY:Yœ *n*le         years'toverage        Imy l    at elte xp/ement
      lxtase4t1 mM= zxeyeove W Mdiœid                        TV DYSIAWO N:œ ..
      n al---smal.-                                         m .LY:Yx œ & tow :m= ,CVSae 11*
          TRUDY JLAW SON:Ri                             r- e? kbz- ll.R rn* ..
          NELLK wiline -    y=m ifm u                       TRUDY SM WO N:œ .okay.
      keeprxuki- al
                  m tlo u m ie e lnere- yo.                  MR LY:e -hmm.M tal,Gmalkwilh
      pxmm Ifyœ lte *zuyw11 itphW                       W l:œ u.Frikil*wl:D 1Kem #k,EIikt
         TRUDY SLAW SA Okay,Al1n@
                                ' 1.                    Ede ,N he > ,T 1ie TI- Edk*Edwedv
           NELLY:4n4* 0t1= thing :the thigig            M M .M .A-X.œ nlzmn .V> œ y,Yœ wrlk d-
      nmlli4w k'surao .Wkalthb muxuu isllotifat         œ fef- ince k N va
                                                                         'h>',amlwithm tvzè - :
      = ypokltofw xr- w vdœ ideGM A Mw* tto             yt-mm sœ âlloftkmyla= tbe youeagoand-
      :.a- 1.- œ œ œ 1i  twithœ t= y pem y.late         yx rl- - - e.
      vxplail> ..                                             A2 vixion k wk%Eytmed,- 1i1 Em E-
            TRUDYSLAW SON:Okay.                         Y-E-M-E-D.O A elie .w i1 t   hezip--=-.il
            N ELLY:..lowllti:inm- ce w k.AM             altowsyœ to= allof* Ih œ stlntm ucangK
      < xm youviskaW trmyoucr----e u ythatis            yœ r'- erxv
      .'* rtle 1*0 - G BeKevcml lhta ba                      Aadhœ tle - isim- ntloyœ know
      êxw ode @ ru lx youcx goandyouw goingto           - * knt- isthatab ryoumœkey- -m lenlvyou
                                                  14                                                  l6
      & N ing-                                          = ùveW e> Rdx pdky.New.youIuvttO da>
          TRUDY SLAW Sœ :m ay.                          * m ovœ lhem liey.œwi- >   poky. lf,1th*
          NELLY:..rrom zœoupe * .Youwill                ee t/'a tl:p k's- te ri
                                                                              > i-lxau lr-
      Ixverpay--- te t50 loxeadto m e y!                d=ymfund lœ >   - ofyœ rm-    .   Y*ubavttm
          V UDY SLAWSON:Okay.                           dv loœ Q< œ y?
           NELLY:t-'ssuc x :.mIneedtogolothe                'IXIY YSl.A*> :œ y.
      lo# tal.1tœ yœ O t* #œ love*                          NELLY:ib wulm e- - l-
      e du ibi Whelaplalh- œ de bk whâttbx                  TRO Y St.
                                                                    AWSY :Solene e ree w k?
      = arsislhatyœ 1=:* lopayth-axe ofœ llao fom           NELLK Mfolmn . œaœ ysto œe wxaM 1C
      y- e elbd'
               - Y - -'% <- 'Fe fmm the                 yœ * kh* œncetK ymfundwurmo- .If
      i- rc x Inthkt- ,G---dœ *twoi h tbe               alu tu t.-
      way.n b ise xcalkdfrx dalarctu u e                     'IRœ YsG w soN:okay. so -.
      p< whidtM n*tlol*.#* Owryœ fMm *e                     NELLY:-1ie tse ti-eRe klifyou
      m- *ytmexerinO lk- ital.TIe'& e w'e               ='-'=-k.,.
                                                                 -.+1.y4x:- * iI. T* *:x pee ty,
      lakeI- oft1.- *
                    - Kll.n tye cetl- a d               N tu u 'vorpmtytw w- lyGa .kAase lx in
      llœntheyR-Im uwlnllhtytallte œ hanelitto          thatN ie ortcne e xy?
      coveetlmn 4.At* e< welyouN yislessthan                 TRG IYSLAWSY :œ xy,l= .œ ay.solho
      if> kave.vo kil deœ tl bi Youu crNy               w-tkaz,w xwyoaaa aw= dlatwmdtm*tlxxxl;$
      anythimg-                                         unulJan- te lx #Iw.# .k tl- right?
           TRUDY K AW SON: œ ay.                             NK LY: Weu x -
           NELLY:- + rrowu Yx œnux thi;                      R œ Y % A* sœ :Youknow thal?
      ix --TRUDY
            --.. SL                                          NguLv: .ws.- œ N daœ it wh. we
                   AW SON: Okay.                        do ig< > 1 11 ee ivedxee J- e 1.. But
          NELLY:-inpi-te de lee tfe lity                le'sse- nuwa-* o k'wll<e cy>G .
      >d,:* .M ixwide.                                  You- mA tlxo lhfo mumn- 111:

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 Simple HeoIth Plons                                                                                12/5/2016
                                                         17                                                   I9
       poli
          cy.lfyoudecidetckecp it,grraqbyJarluary             medkalor--
       lM,you'regoingtc1 covered.Ifyoudcci deto                    TRUDY SLAW SON:Yes,dentalandmedical.
       canctl,thenyx baveti
                          meenougbtoc= celand find            And(henitcoversaIIlhelab workthatwcnecd lo
       anotherinsurance.                                      havedone.
            TRUDY SLAWSON:Okay.Okay.Canljtkslgel                      NELLY:Yvah,tbatispreventinghcre.
       youtoholdonroraminute?                                         TRUDY SLAW SON:Anditcovcrs-
            NELLY:Yes.W hy not.                                       NELLY:M m-hmm.
             TRUDY SLAWSON:Andl'm coi   nglojust.-l'm               TRUDY SLAWSON:Yes.Andthemedical
       justgoingtoask- l'mjustgoi
                                ngtonm thisbymy               surgrrks,tbere'snodeductible.
       hushmd= 1quick.                                                NELLY:n ere'snodeductiblc.
           NELLY:Noproblem.1will(inaudiblt)-                        TRUDY SLAWSON:Andno- lcan'lreadmy
           TRUDY SLAW SON:How weuldyou - how woul  d          writinghere.No -
       youwant-andthepay-menlwoutdlx madehow? Just                  NELLY:(Laughter.
                                                                                   ) Itan'tfeadmy
       bycreditcard?                                          w'riting.
            NELLY:Okay.Thefirst--                                    TRUDY SLAW SON:Sonofagun,lcan'tread
            TRUDY SLAW SON:CanIputiton-                       ilhere.
            NELLY:Yts.n efirstpaymenthastobc                          NELLY:(Laughler-
                                                                                     )
       donewithcrcdilcard.lfaherthatyouvvoultllike                    TRUDY SLAWSON: Whatwerrthcotllerthings?
       topaywithcheck,youjusthav:totallth. and1
                                              ct                      NELLY;(Laughttr)
       them know thatyou w'anltopaywithyour- withm ur                 TRUDY SLAWSON:Thcre'sno .-no claim and
       checkingaccounl. It'sdoneautonlatk.They'regoing        l1o--
       m thargt#oufrom thesamecredi  tcard.                           NELLY:That'sfunny.
            TRUDYSLAWSON:Okay.So--okay,jtm hotd                       TRUDY SLAWSON;Sorry,ohy.Andtllcnso
       oncrlzsecond,okay?                                     whatwecando iswccancbooscadodor.
            NELLY:Yes,ma'am.N()problemj1will.                     UNIDENTIFIED MALE: A dxtor.

                                                         18                                                   26
            (Pause.)                                               TRUDY SLAWSON:Andtbenifwehavetogoto
            TRUDYSLAWSON:Scl'mjusttellingrny                  thehospital,it'sffom tllefirstdollarofcovtragt.
       husbandthatthepremium issoingtobc238.7I.               Sothalmeansthatwtdon'spay acythingextra.
            NELLY:Thatiscorwct.                                     U'
                                                                     N IDENTIFIED MALE: Whatae ut
             TRUDY SLAW SON:Andthat'samonth.                  prescri
                                                                    ptions?
            NELLY: Mm-hmm.                                          TRUDY SLAWSON: Prescriptions,weget- the
             TRUDY SLAW SON!AY that- itincludes               genericönescrelikt$4upto$10p:rpr- ription.
       dentalandvlsion.                                       Andso.-so1thinkweshould dothis.
             NELLY:Andvision.mm-hmm.                                UNIDENTIFIED MALE: Sure,yeah.
             TRUDY SLAW SON!Anditcosts$155loenroll.                 TRUDY SLAWSON:Okay,yeah.
            NELLY:Thasiscorrect-                                    UNIDENTIFIED MALE; DowtneedaU.S.
            TRUDY SLAW SON:Andthenm ucancancelil              account?
       withoulN nalty.                                              TRUDY SLAWSON: Wcll,no.becauselcan.. -I
             NELLY: Mm-hmm.                                   canpayitwilh m)'creditcardyright?
            TRUDY SLAW SON;AM itis--tbere'sno                       NELLY:Yes,tbatiscorrecl,
       exeacbargefor- Iikewemighthaveta pay -                       TRUDY SLAWSON:And itwillbebillcd in
             UNIDENTIFIED MALE:No copayment.                  Americandollars.
            TRUDYSLAW SON:,-tl
                             wre'snocopay.%lzpay                      NELLY:Thatiscorrect.
       D 0forthgdoctor. W asthalright? Anywherefrom 30                TRUDY SLAWSON: Yeah.
       te50 rorthedoctor'svisits?                                     NELLY:Mm-hmm.
            NELLY: From zero npto 50.ltcan bezero,                    TRUDY SLAWSON:And thcn--okay.And tben
       itcanl!c50- itcanbezero.l0,20,upto50,no                juslloverify-
       morethan550.                                                NELLY: Mm-hmm.
           TRUDY SLAW SON:Riglm Okay.Andtben--                     TRUDY SLAWSON:- oncewegetthere..so
            UNIDE-NTIPIED MALE: So Shxgsdental,               wt'regoingto btcovercdandoncewrgetthere,tben

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 Sim ple Heolth Pbns                                                                               12/5/2016
                                                       2l                                                       23
       wehavetonotify - - '11geta.-well,Iirx of                     NELLY:           t...
       all.we#llgetane liltooutlinethepolky.                           ri@ l?
           NELLY:' I'
                    hatisezw'
                            zwtt                                    TRUDY SLAWSON: Yes.             ytab
           TRUDY SLAWSON:n enonce- okay.Andt% n                                  .
       wehaveten* ys$ortview it                                     NELLY:Mm-bmm .
           NELLY:n atisclxv t.                                      TRUDY SLAWSON: --dot
            TRUDYSLAWK N:Andifwe'a x thppywi
                                           th                 @gnail.cGn.
       iqtG nwecant'
            NELLV  a= lit                                             NELLY;Gmallscom.Ix youal= # bavean
                   Thatiscœ plœ lyright.                      %zlrlreqqin Arizonaoryouzkm't?
            TRUDYSLAWK N:Now,can1carwelitjust-                      TRUDY SLAWSON:Yrs.
       okayvsoifl- Ijustdon'twottogetcaught                         NELLY:Youdo? Okay.
       sayinw oh,- 11,tow Ihavetov eelK thatm= s                    TRUDYSLAWSON:Yo,m do.
       Ihaveto.youknowvjumpthroul 15hxps* z--d                      NELLY:Perfect.
       nnethinp 1want* beabletojustsendanemailto                    TRUDY SLAWSON:lt's- dom uwantit2
       cantvlit.lsthat% ay ifIdc-                                  NELLY:Okay.ixscate whenyou'regoing to
            NELLY:Yes.                                        = kelheNymentinorA toreeiew tl:eN licy.
            TRUDY SLAW SON:- wlmtto Mnceljt?                  mmemberfhatyoucanmakethrpayfnenltodayifyou
            NELLY:Thatiscorrtxt                               wanland it'ggoingto1* elTœ tive.yourinsurance.v
            TRUDY SLAWSON:Okay.:Gxl.                          forJx uary. Thatpaymentthatyou submistoday is
            NELLY:Thcy'rcgoin:to-they'rcgoe to                goingtolxfrœnJanu!ryIsttoFebruarj1st.n e
       ste you thelformati- . Itcanbebyphonevitcan            extpaymentwillbelnFebruary. ButIfyousubmit
       bebytmailorifyoudon'lsubmitthepgyment                  mepayment-
       amx mk,they .-ttkey eancclyourinsurac e.                   TRUDY St,AWSON;Rigllt.
       Reno berthath*1thinsurancebasicallylfyoudon't                NELLY:.-teay.todaylheyxmdyouthe
       makcthepaymentinthemontlvtheyc- llt.                  N licy.

                                                       22                                                       24
           TRUDY SLAW SON:0:% .Andlhen - so ifI                   TRUDY SLAWSON:Yoh, 1911Imy leay.
      wantedto Ny itbyt' rvii
                            tMvdtvtrymonth,lcoultl?               NELLY:Okay.t=1me--whatksyourmailing
            NELLY:n atiscorrect.                             'UM-U lxcauscthv'ysrndyoubymaileverythingin
            TRUDY SLAW K N:Istlmtright?                      arotmdscvendays.okay?
            NELLY:Fe exo pl,ifyouse ni     tnow a                 TRUDY SLAWO N)Okay. Ips
      ce itcard ntlme andyoudon'tmakeanychxge,                    NELLY:Mm+mm.
      theyw going tocharge rm tbeqnme--œitearda11                 TRU9Y SLAWSON:-
      oftheîil< .lryoudon'twantthem to--                          NELLV How yous> 1Ith t?
           TRUDY SLAW K N:0h-                                     TRMDY SLAW SON:            ie
           NELLY:-.d- efrom thiscxditcardv                        NELLY:Mm-hmm.
      theq#ou haveto ld them know.changeIIIeateountor             V UDY SLAW SON:Secondw'   ord is
      wbateveryœ decideto do. lt':z- eautomttic.
      Theyfœ goingtochargefrom theq.'m1eereditcard.          X     NELLY:Perfett
           TRUDY SLAWSON:te y,okay.No.tbapsokay                   TRUDY SLAWSON:Way.
      h'Ynux thatme= thatIdœ *lhavetonzsh and                      NELLY;Mmmmm.
      dlangeanytbie .                                             TRIJDY SLAWSON:G oV:I ysArizoC
           NELLY;No.                                              NELLY:And lh@Zpçode?
           TRUDY SLAW SON:Ica take:coupleof                        TRDDY SLAWSON;85755.
      monthsevenlocbe ge ilifIne to.œ ay.                         NELLY:Golit. Okay,lwztn- 1> <iîwas
           NELLY:Tiu1iscorred.                               MyingTucsow Arizxo . n vn it'sIx*Tucson11. 9
           TRUDY SLAW SON:Al1rightvm>we'lldotllis.           lt*sOroW lIey7 œ ay.
           NELLY: Wl> wouldbetlleenuiladdee.qxthat                 TRUDY SLAWSON:W ell.it'swwyv  wah,it's
      youwanltouscinordertorecrivetlx Nlicz?                 ju<asub-se idyofm.asuburbofT.- n.
           TRUDY SLAW SON:lt'sgoing toI:e                        NELLY:Okay.noproblem .ma'= .
                 A ail.coau                                      TRUDY SLAWSON: lt'skimlofalIint
                                                                                               hat

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  Simple Heolth Plons                                                                            12/5/2016
                                                     25                                                    27
        samearea.                                                 NELLY;M m-hmm.
             NELLY:And tberesidenlialaddressisthe                 TRUDY SLAW SON:Zero.V asin Victor,zero.
        same?                                                     NELLY:W uwvvery interesting.
             TRUDY SLAW SON: Yes.                                 TRUDY SLAW SON:Iknow itlooksweifd.
             NELLY:Okay.And 1etmecheck--okay.                     NELLY:Tllisis1hetirsltime.
        :vhatis1hetreditcardtbalyou'rcgoingtouseto                TRUDY SLAWSON:Very(inâudible),Yeah,
        makethispayment?                                   yeah.
             TRUDY SLAW SON: lt'saVisacard.                      NELLY:Iwentonceto Canadabecausemy
             NELLY:M rn-hmm.                               beotherttsed to liveinM r
                                                                                   mqena,New York,anditwas
             TRUDY SLAWSON:And lhe- you wantthe            vcry in thenorth.
        nunlbeo                                                  TRUDY SLAW SON:Oh,yeah,yeah.
             NELLY:Please.                                       NELLY:1wentwithmymom.Itwas
             TRUDY SLAW SON:Okay.lt'sXXXX.                 beautiful,buthwasccld fbrusthaîarenotused
             NELLY:M m-hmm,                                forthecold.ltwascoltl.
             TRUDY SLAWSON:XXXX.                                 TRUDY SLAWSON:Oh.ycah,yeah. Well,it's
             NELLY:M m-hmm.                                really cold btretodayyso,yeah.
             TRUDY SLAW SON:XXKX.                                NELLY:A1light     s 14tme- I
                                                                                            etmecheck
             NELLY:M m-hmm.                                one seccndtheaddressbecaux thes'ystem isnot
             TRUDY SLAWSON:XXXX,
                               .                           allowingme.Givemtjustcnestcond.Don'shan:up,
            NELLY:Letmerem atitforyou. '              -    pler e.
        X'
         X.xx XXKX.                                              TRUDY SLAWSON:Okay,yeab,no.
             TRUDY SLAWSON:Correct.                               (Onhold.)
             NELLY:And theexpiration date?                        NELLY:Hello.
             TRUDY SLAW SON: ls's- isXXXX.                        TRUDY SLAW SON;Hi.
             NELLY:      .And thethreennthebûck'
                                               ?                  NELLY:Okay.Alh rme,the nextsttpis

                                                     26                                                     2#
             TRUDY SLAWSONTXXX.                            thatIhavclouansftryour=lllovt/ficalion. ln
             NELLY:Andtl,eaddressthatisinyour              my system,thesystem didn'tallcw meto writedown
        credi
            tcarx                                          theaddrt'ssfrom Canada.W hatw'  egoing to doiswhen
             TRUDY SLAW SON:ll's                           llransferyourcallloverification,yot
                                                                                             l'regoingto
        Coalhurst,Alberla.                                 lelt
                                                              hem know tha$thecreditcardthatyouhavehave
             NELLY)Bow youspet!lllat?                      amailingaddressfrom Canadaand thalwaylbcy can
            TRUDYSLAWSON:CoclNurst,C-O-A-L-H-U-R-S-        swiN ltandwritcdowntherkhtAddrcrp
                                                                                           s,okay?
                                                           Becauseînmy case-
            NELLY:Mm-bmm.                                        TRUDY SLAW SON:Okay.
            TRUDY SVAW SON:Alberla,Canada.                       NELLY:- thesystem didn'tallow meto
            NELLY:Andthezipçotkp                           writeitdown.
            TRUDY SLAWSON:T0L-                                   TRUDY SLAW SON:Oh,okay.
            NELLY:Aye,il'swithItttets?                           NELLY:Doyouhaveamiddleinitizl?
            TRI
              JDY SLAW SON:Yeah.yeah.                            TRUDY SLAWSON: 1'm sorry,whalw'as--T.
            NELLY:(Laugbter.)lsaidvsomethingis                  NELLY;Okay.
       wrong.Ourzipcodesarea11--                                TRUDY SLAW SON)T asin tango.
            TRUDY SLAW SON;Yepb.no.it's--                       NELLY:Okay.
            NELLY;(Laughter.)                                   TRUDY SLAW SON:OrT forThrrtxsa,
            TRUDY SLAWSON:Iknow,yourzip- yeah,                  NELLY:Youwantmelowriteitdownwith
       thgziptodqsargalInum% rs.Hercit'samixtureor         the-*
       nnm/rsand lettersvsoit'sT0-                              TRUDY SLAWSON: fley,1--
            NELLY:Okay.                                         NELLY:Yes,ma*am .
            TRUDY SLAWSON:Tango,ztro-                           TRUDY SLAW SON:N0,il'sokay.W hat- what
            NELLY:M m-hmm.                                 isyournamcagain? l'm sorry.
            TRUDY SLAW SON:LasinLima.                           NELLY:My nameisNrlly.N-E-L-L-Y. And my

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                                                         29                                                   31
       directphonentlme ris1-8* -                                    TRUDY SLAW SON:W<s.
            TRUDY SLAWSON:ldX .                                      NELLY:GivemejA œea d Remember
            NELLY:.-594-                                      IhatthesecoM paymentisgoinglo1. forFebruary
            TRUDY SLAW SON:594.                                1stokay?
            NELLY:- 4* 6.An4 my ex'- icnis 1738.                    TRUDY SLAW SON:Righl.
       W eareSimpleHcIth.W earethebrokers.                          NELLY:It'simpA nt* yaulokM w lhat
            TRUDY SLAW SON:Okay,you'rellebrokers.             assoonasyouv eiveyx rN kagebyemail.yœ can
       Okay.                                                  printoutyourID Mnl.If,C;e forbid,some in:
            NELLY:M m-brnm.L*tmetellymlwhy lbis               hcppenstoyou oryourb'al o .vlonJa uary lsl.youean
       ' l
       m  rancetqsoaffoedablt.It*svmy importantfor            go to an urgentcm anemeq ency Yom.n e* ly
       you lo% ow Iwwezttee,believenx.it'snoteasy to get      thing tbatyouhaveto wait30days-
       anaobrdableinsurance.n isinsu-- ixafrodable                   TRUDY SLAW SON:œ ay.
       becaux m don'tcoverthreelings.Letmetellyou                    NELLY:-isjustforarelulat
       what W e4(m'tcovermat= ity.                            appointment.Lepssupposeyeulustsid,okay.I
            TRUDY SLAWSON:Okay.                               wnnttogotoadM orjusttogetmescrië - or
            NELLY:Iflbat'simporlanttoyouguys-                 justtomxkearegulareherktlp.Forthaqyouneedto
            TRUDY SLAW SON:No,no.                             wait30days.Thatenxnstbatyoucan goonFebnlary
            NELLY:lu ughter.lNo.ril t?                        1st.
             TRUDY SLAW SON:lthi
                               nk wckrc- wg'rcp.
                                               1s1                   TRUDY SLAW SON:œ ay.
       dlat.thankgoodn- .                                            NELLY:Bulifyoubavean emergec yoran
            NELEY:Okay.Thatnwansthatjoudon't                  accidentvit'simmediatelyamilabh.Bylanuary1st,
       necdto pay x nwlhingthatyou*renotgomg touse.           yœ can usetbas.okay? n esameth1* w1111-
       Tlx tltherthingthattY insurancezW x *1tovcris                TRUDY SLAW SON:Okay.
       mtmtalhealth.lfyouhavetostay overnightina                    NELLY;- Xntaland vision.Dentaland
       mentalhealth clinic,thcydon*tpay rortbecli
                                                nic.          visionareimmediatcly available.n eonlything that

                                                         30                                                   32
       Iryouneedtogoloapsycbologist,psychiatrie.              youhavctovvaitisjustfor112regul
                                                                                            ar- fora
       that'snl a probl
                      em.n eonly thing thatthey don't         regulartheckup.
       pay -'                                                       TRUDY SLAW SON:Okay.
             TRUDY SLAW SON: Okay.                                  NELLY:œ ay,1etme-
             NELLY :- isifyouhaveto- overnightin                    TRUDY SLAW SON;Well.we(*n*1-.yeah, w e
       amental* 1thclinic.AM thesmnethingwith                 jtlstludcheckupsba ae --
       rehab.Ifyou'rehavingloblemswithalee oland                     NELLY:Perfett.
       drugs,youcango to aclinicday time.Butify-                     TRUDY SLAW SON;Ye .everything isxreas.
       havttoxayinarde di    nit.theydon'tpayfor                     NELLY:Perfect 2017.Let*sscc. œ ay.
       tbatovemi#t 1% arethreet:ingjthtthis                   thisksallRtalx dy.Firstofall.
       insuranceH sn'tcover.n at'swhy tt'sso                  congratulations.Yougotagtw l?PO inslu nce.
       alïbrdable.                                            n ey*regoing tollelpyoudtl
                                                                                       rklg thesetwoyœ rs.
             TRUDY SLAW SON:Okay.                             n al'sifyouœ lynecdaninsum- fortwoyOrs.
            NELLY:lt'snotamajorino          cet'---use        n encxt--
       oftbosetl- reaqM q,okay?                                     TRUDY SLAW SON:Ye .
            TRUDY SLAW SON:Okay.No.tbat'sgW .                       NELLY:--thingwilllx lotransferyœ r
       W ah.th t*sfme.                                        calltoverificatiœ . n ey aregoing to reada
           NELLY:Okay.Andwhatelse? n isisx t                  xript. w hattbismeanst'stlulz'- ninthingsare
       (M macare.n isisnot- thi
                              xisaprivate                     goie toao lyforyouguys. Form mple.youdonft
       insurance.lt*sahealthinstmance.It'qnota                haveanypersisting(siclconditionw butthey%vtto
       discountplanpokay?                                     go ov. that< ux it'sax ript. n ey havetoIvad
             TRUDY SLAW SON: Okay.                            thesamethingtoeveryhxly,r&hyl Tbey*regoinglo
             NELLY:lat'sse*whatelseIn=dfrom you.              letyouknow -
       lthinklhvetve ing.Okay.yoqwantmetoset                         TRUDYSLAWSON:Okay.
       upthisforJanuary lst                                          NELLY:-llïattbisi:n- amajor

 8(Pages29to32)
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                          Telephone Con- aolion % > & Tnldyond Nelly
  Simple Heolth Plons                                                                             11 5/2016
                                                     33                                                    35
        it- a= % - * H       - eM th1lN em u.             1   wereuyl.gœme kïg> ,e*-.Ife yx :onq1%
            V UDYSM WSœ :Ri##.                            2   -aprœxixkgc dite .IsM e x- isthK
             NELLY: 're k - alM A,itu n-                  3   œ tm z- exying:
        o- xa .w ygol wm - rAe>               .wla        4        NEG Y:Y:xtley- y>.*< goiœ * reM
        wu= your-! ''> 'rege goxttwe                          *z- hk,g* isOlkd#n-eh'blellm ktlllskl
        R -Ht Yœ'agoiœ to- tlœ u- -td1x hl-                   gI- .n is:> te px/ete h- omil
        tothehee l-uralteae te = x-e +atbekl  + tm            (*1*)ce klœ % tt ulo<
        thedgnklar
                 z h- le Btgall1Itend.1P:œ 1y23:              tlot'                   M xy- tllt
        wi* 71ienw e y?                                       pe Mlglsi t)xnlliœ œemimgzlx kec
             TRUDYSLAWSON:Okly.                                       Ia* e 12e dhe.F*re tvifm u
             NELLK V ty'œ > :* Iuyoukm iat                    lladm .='*''wi+kltlelG tI1= moe x1* ;>
        yœ w goie s
                  oe *byœ nglekkfn- .tiol but                 .yoixktgIsk)1hp lfyœ ke au= ale ,
        inse- tokmdao.- wîlle u ie- k+                        ir- 'veY ndiv e withto idœ e m dtring
        w11 @e* kw.@X Aa *hy.* :nda                           et1+ 12me s
        d'
         .- -êpe .ItY ** 1+ e u---' e dk% *PPO                     V UDY SLAW SG :a : 4 < .1seewhatm u*r:
        thalyœ tane-    my4œu .Yœ e l'te xll                  -.* .
        Mfwœabo visit.s- clliK.- 4ifw ubavtat
                                            p                      NELLY;Mm-l-
        q- tbn.ate e ,Id œ-- k- tof- faryour                       R UDYSt,
                                                                          AM O :Solje e ro been.- -
        e1lback tou< 'N ezarex :i
                                n-   e Y ts.w y               G ay.
        jœtrêxdhe pt Ifatte Odof* e fkxi*n                        NELLY;N*.e tlbeyW > ilgtotxplaio
        > Ix- myN e * .te % l* *eytell                        loy- islbepeae gte le' - - te yeg
        zouthatyouA *tl-œ'-'* .e lY mvtœ ld you               lo* * .fœ o - v.ifav txtkavea
        pl> lt- er- *11bxktotl a- adtl
                                     o                        pee le I#c:te te .yœ c. tmcow d < -'.x
        e nsfa m urte bao tous* it'sgàn:lob4a                 k*sle W.uel..
        pl- teetokelpw u,okl?                                      V UDYSLAWSG :m ap- iMemee llltm'

                                                     34                                                    36
            TRUDYSLAM G :œ o.                                         Nn .
                                                                         lY:Pn lsdtv (skj
            NELLY:Ib yœ ev<anytle œ > o> 1.                           V UDY SLAW SON:œ y.
        a nsferyœgmll* veH lte Do areteo-                             NELLY:wl.ttlo m i
                                                                                      nglow tu içte
        thx m o- -pl- ld -â'-H ow a% e * =                    le te bœ V tfœ 12v nêG 1w pex ne ethe
        dt
         kteret* .e t. eœ-- k- tlwtI                          KA toux * lnsumu .a ttg c---n tMtte '
           TRUDYSM WSONJYel > w.yoo..                         œcei- fœ tle > lgI:e1eorditbnam nol
            NELLY:-.ltœ e 'lv iw do- ieœ r-                   1e - œ t* 2 a>       .   % kly- -    t*'--
        fr* C- ..t* te G toe K œ y?                           * 'tâx lyu 'wle- youe l'tY< lly.
            TRO Y SIAM ON:oly.> ,y- - t1-=                         TRUDY 5tA*Sœ :œ az.
        +at* y- -thyœee ng*ear ipt ls                                 NELLY:Buttheyhu logo- .S f
        te + t7                                                       TRUDYSLAWSON:Rig/.œ ây,* y.
            NELLW Yes.e 'Itgaiœ ot=xlâw ipq                           NELLY:Like1*14 ifattkeendzouhave
        te #l- stupu                                          ae       < Iute k- toApsftrwure lY k
            TRUDY SLAW SY :Okay.                              touxald- k- aple- rm IfyalNaveany
            NELLY:n ey'reaokv toe exaulytle                   m fv tlutme any e rae e.feelfre * lu them
       !,.- toym d- do ,o dtotvrre dy.Butif                   know aboulœ a -
       t-m':x -hv - * mewkm .*                                     TRUDY StAWSœ :Okâr.
            TRO Y SG M ON:Okay.                                       NE12.Y:- e ppykolidayi
            NELLY:- e you:*:.œ y.whtis                                TRUDY SLAWSO :*r* jmu.You,% .
       thiwalI- < e ** k- .- kmuplt*e                             NELLY:14u âple t  m - e gyml.
       a sferyoœtallY *e 1e wegoo- .(*p#                      Ld œ lY fery- œll* l& fh.
            TRX Y SLAG N:œ y.G lly,.e'
                                     -G $Ié%                      TRUDY SLAW SON)TenEyoc
       tx                                                         NELLY:AM 1kel* #-
            NELLY:Yes.                                            TRUDY SLAW SON:Ok&.
            TRUDYSLAM ON:1weje wVM &G yx                              NELLY:- fœlfr* * 1d lhem k- *

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                                           ForN e *       d,hc.
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                            Telephone Conversoiion Be- een Trudy ond Nelly
 simple HeoIth Plcns                                                         12/5/2016
                                                          37
       transferyourcall<--''lo gsifyou'restillhaving
       anyquestionattlw end,okay?
              TRUDY SLAW SON:Okay.n ank yousomuch,
       Nelly.
              NELLY:Haveagreat* y.Itwasa
       plea re.Letmetnnsfe your0 11.
              TRO Y SLAW SON:n ank you.Bye-byc.
             (n eta11wasmmclte d.
                                )
             (n ercordingwe colxlude.)




                                                          38
              CERTIFICATE OF TRANSCRIPTIONIST

              1,Elize ethM .Farrcllvdo hcrcbyccrtify
                                                   -
       tlulttlu fomxgoing procœdiv ae orcolwersatum  'R
       wem Itnnqcrilx'dbymeviaCD.vkleotal aziotv or
       digitalrecordinwae redv-M 10ty- llg undermy
       su- a lsion;lhatlhadnorolehltlx = ordmgor
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       DATE:55/2018
                     ELIM BETH M.FARRELL CERT



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                            DECLAM TIO N OF M ICH AEL STANLEY
                                  PURSUANT TO 28U.S.C.j1746
           1,M ichaelStanley,hereby declare asfollow s:

                  M y nam e is M ichaelStanley. llive in Florida and am overeighteen years ofage.

   Ihave personalknowledge ofthe factsstated in thisdeclaration,and ifcalled asa w itness,I

   could and would competently testify to these sam e facts.

                  On oraboutOctober l0,20l7,lasked a group ofparentsofm y child'scollege

   classm atesforresources forfinding health insurance form y child. A fellow parentdirected m e

   to a w ebsite located atOfficial-plans.com . lfollowed the link to the O fficial-plans.com w ebsite,

   w here lansw ered som e basic questionsaboutm y child. The site listed a telephone numberthatl

   could callforttfree health insurance rate quotes.'' ltalso instructed m eto provide certain

   personalinform ation in orderto receive a callregarding health insurance. The site asked fora

   date ofbirth,height,weight,nam e,and address,in response to which Iprovided m y daughter's

   inform ation. llisted m y ow n em ailaddressand contactphone num berbecause lwas handling

   the search and paym entforherhealth insurance.

                  W ithin m inutesofsubm itting m y responsesto the questions,lreceived a phone

   call. The calleridentified him selfas M ario from Simple Health and he said hew ould help m e

   find an insurance plan appropriate and affordable form y child. lexplained to M ario thatm y

   daughterisa healthy,lg-yearold college studentand thatIneeded to purchase health insurance

   forher. Based on com m unications from hercollege,lalso told him thatitwasnecessary thather

   insurance provide outofnetwork benefits.

                  M ario proceeded to tellm e he had found a PPO nationw ide plan form y daughter

  thatrequired no referrals,would allow herto choose herown doctor,had no exclusions ofpre-

  existing conditions,and provided coveragethroughoutthe United States. M ario indicated that
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    the insurance plan would coverdoctorvisits,diagnostic testing,m edicaland surgicalprocedures,

    hospitalization,and there would be no waiting period beforecoverage began. M ario told m e that

    ouroutofpocketexpenses would be 20% to 30% ofthe costofprimary care doctorvisits, 20%

    to40% ofthecostofspecialistvisits,$4 to $l2 forgenericprescriptions,and $5to $20forname

    brandprescriptions.Marioalsototltedanappthatwotlldworkinconjunctionwiththehealth
    insurance to help us Iocatethe pharm acy w ith the Iowestcostforany m edication,based on zip

    code and the nam e and dosage ofthem edication.

                  M ario told m ethatthishealth insurance plan had no deductible and thatit

    provided outofnetwork benefits aswell. He did say thatthe insurance coverage was Iim ited

    because itwould notinclude maternity care,servicesin a m entalhealth facility,orsubstance

    abuse treatm ent. G iven the otherw ise comprehensive nature ofthecoverage,those few

    lim itationswere nota dealbreakerform e. Iasked M ario how m uch this insurance w ould cost.

    M ariotold methatthemonthly prem ium forthisplanwas$172.7lal
                                                               id thattherewould bea

    $125.00 enrollmentfeeeharged,foratotalGrstpaymentof$297.7l.M ariotold methatforeaeh

    month afterthefirst,themonthlypremitlm would beonly $l72.71.Healso saidthattherewould
   neverbea rate increase on thisinsurance. He furtherindicated thatthis wasa m onth-to-m onth

   plan thatIcould cancelatany tim ew ith no cancellation fees. M ario told m ethatthe plan also

   included a$ll0,000AccidentalDeath and Dismembermentplan atno additionalcost.

                  W hen Iasked,M ario searched hisdatabase and assured m ethatm y child'sdoctor

   was w ithin the plan's network. G iven these assurances,lproceeded w ith the enrollm entprocess,

   whichincludedgivingmychild-sname,dateofbirth,zipcode,SocialSecuritynumber(which
   M ario saidwasforageveritication).and theflmy name,address,phonenumber,SocialSecurity




                                                  2
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    num berand em ailaddress. Because m y child stillhad health insurance coverage through the end

    of2017,lopted forthe coverage to begin in January 2018.

                  M ario said he needed a creditcard to securethisspecialrate to begin in January.

    Igave him m y creditcard inform ation. He told m e the paym entwould be processed on January

    2,20l8 and coverage would begin atm idnighton January 3,20l8.

                  M ario told m e thatthe nextstep w asto speak w ith anotherperson who would be

    goingoverthepolicy information on arecorded line(formyprotection)where Iwould needto
    answera few questions. During the recorded conversation,the representative was giving m e the

    sam e detailsthatM ario had given me,and Iconfirm ed each item he m entioned. Then he

    m entioned som ething aboutN CE M em bership,which Im ade note ofbecause Iwasgoing to ask

    aqtlestion aboutit. Iw as also given the num berCCM CELM OZOI7,''although lwas notsure what

   thatwasfor. AfterIfinished w ith the recorded portion ofthe call,w hich took quite a w hile, I

   w astransferred back to M ario. He said the application would be processed forapprovaland I

   w ould receive an em ailconfirm ation once processing was com pleted. M ario gavem e hisdirect

    line to callhim if Ihad any questionsorconcerns. The pum berhe provided is 954-606-9070. I

   thanked him forhisassistance and ended the call.

                  The nextday Ireceived a phone callfrom 954-398-1923. The callerw asa

   w'
    om an,and she asked formy child. Isaid she w asnotavailable,butIwas herfatherand m ight

   be ableto help. She asked if Ihandle health insurance form y child, and Itold herthatldid.

   explainedthatIhadjustsignedherupforinsurancetostartinJanuary2018.Thewoman'stone
   com pletely changed afterthat. linquired asto w ho she w asand why wasshe asking aboutm y

   child. In a rude and condescending tone,she said she w asw ith the etinsurance m arketplace''and

   w ascalling to offerhealth insurance to m y child,butIhad already signed herup forinsurance so
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    she could nothelp m e.She was very shortand ctlrt. W hen lgothom e. lG oogled the phone

    num bershe called from and found inform ation from otherconsum erssblggesting thatthenum ber

    wasassociated w ith a scam .

                  On oraboutthe m orning ofO ctober 13,20l7,Irealized thatlhad notyet

    received a confirm ation em ailfrom Sim ple Health aboutm y child'shualth insurancecoverage. l

    called M ario at954-606-9070 to ask aboutthe em ail. Ireached a recording, which did notstate a

    com pany nam e,butsaid Ihad reached custom erservice and provided a m enu ofoptionsfor

    continuing m y call. Ifollowed the prom ptsand wasultim ately connected to M ario. H isvoice

    tone and dem eanorhad com pletely changed from the bubbly,friendly person lhad spoken w ith a

    few days before. Itold M ario thatIw ascalling to check the statusofthe application, because l

    had notreceived the confirm ation emailhe said lwould. M ario said thatIwould notreceive a

    confirm ation em ailuntilthe firstpaymentwas processed on January 2, 20l8,because the

   accotlntw ould notbe established untilthattim e. Thatsounded odd to m e. Ineeded to be certain

   thatm y child w ould have health insurance,so Iasked him ifhercoverage was guaranteed to

   begin in Janblary. M ario said he did notunderstand. Iagain explained to him thatIneeded to

   know thatthe coverage w asguaranteed,so m y child w otlld have health instlrance coverage asof

   Jantlary. M ario said yes,the coveragew otlld begin in January oncethey had received the Grst

   paym entand then Iwould receive the confirm ation em ailand welcom e packetin the mail.

                  lasked also M ario forthe nam e ofthe insurance com pany m y child w asenrolled

   w ith. Hisanswerwas ttu nified Healths''which he said isunderthe ûiM ultiplan N etwork.'' He

   indicated thatthere wasno policy num beryetbecause the policy would notbe created untilthey

   received the tirstpaym entin January. Ithanked him and ended the call.
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            l2.    A tthispoint,lbecam e concerned thatthisw astoo good to betruz. The

    transaction did notfeelrightto me. lGoogled iiunified H ealth''and ûtM ultiplan N etwork.'' The

    searchreturnedseveralresults,includingonecalledttlkipoffReportINCE UnifiedHealthOne
    Unified Health Scam .'' W hen lvisited thatsite, Ifound a consum er'sdescription ofUnified

    Health asttrepresented as insurance butis really a D iscountPlan.'' The narrative in the

    com plaintdescribed a situation like m ine:a person shopping online forhealth insurance and

    ultim ately purchasing thissam e plan,w hich w asapparently nothealth insurance atall.

                   lnextGoogled 954-606-9070,which was M ario'sphonenum ber. The results

    from thissearch also showed severalcom plaints, each describing the sam e scenario Ihad

    experienced. Atthispoint,Irealized thatIhad likely been m isled by M ario and thatthe product

    Ipurchased w asnotactblally health insurance, butrathera m edicaldiscountplan. M y child

    needed actualhealth insurance,w hich iswhatIw assearching for, told M ario lneeded,and

   w hich he Ied m eto believe Ipurchased. lbegan to feeleven m ore anxiousand w asworried that

   m y child would nothave the health insurance she needs.

                  lrem em bered from previotlsly calling M ario at954-606-9070, thatthe autom ated

   system providedanoptionforcancellingthepolicf,so Icalledback.lselectedtheoptionto
   cancelthepolicy and spoke w ith N athaniel, who said he w asa SeniorCase M anageratSim ple

   Health. Itold N athanielthe reason form y calland he said he w ould be glad to help m e. He

   asked m e form y child-sname,the phone num beron the account, the address and em ailaddress,

   allofw hich Iprovided. Nathanielasked m e to hold w hile he accessed the account. W hen

   Nathanielcam e back,he asked m e again how he could help m e. Again,ltold him Iwanted to

   cancelthe policy form y child and m ake sure they would notbe charging m y creditcard on

   January 2,20l8.
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                   N athanielsaid he understood m y issue,butin an attemptto stop m e from

    canceling,began to describe aIlofthe ikbenefits''available underthe policy and asked why l

    wanted to cancel. Isaid the bottom Iine isthatIwantto cancelthe policy. N athanielsaid thathe

    could help m e w ith this,butform y protection,itwould need to be a recorded conversation. I

    said thatwas fine. Then N athanielsaid thathe w ould need to talk w ith m y child, the intended

    policyholder,in orderto cancel. Iasked him w hy he needed to speak to m y child today when

    M ario did notneed to speak w ith m y child during m y initialcall. He said itis Sim ple Health's

    policyandhewasjustibdoinghisjob.''
           l6.     Atthispoint,lw astired ofbeing nice. Ithreatened to contactthe Insuranc.
                                                                                          e

    Com m issionerforthe State of Florida,m y Iocalnew schannel, and told him thatIwould repol'
                                                                                              t

   al1ofthe fraud complaints 1had found online againsttheircom pany. Itold him thatIw ould be

   sure to share m y experience w ith m y socialmedia networksand the otherparentsofm y

   daughter-s college classm ates. Idem anded thathe cancelthe policy and em ailm e a

   confirm ation thatthe policy was cancelled and thatm y creditcard would notbe charged.

   stated he eould notdo that,buthe would have one ofhisûtupperm anagers''contactm eto see if

   they cotlld help. lasked forthe m anager'snam e and he said he did notknow the m anager's

   nam e because itwasa differentdepartm ent.

                  IfeltatthispointthatSim ple H ealth could notbe trusted. Ihad been m isled by

   M ario and now N athanielwas refusing to honorm y requestto cancelthe insurance plan and

   pending creditcard charges. Itold N athanielthatIknew lhad been Iied to and Iknew the

   productM ario sold m e wasnotinsurance,butrathera m edicaldiscountplan. Itold N athaniell

   did notw antto hearfrom Simple Health again and thatlwould handle thisissue by working

   w ith the relevantgovernmentagencies.



                                                    6
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            18.    Atthistim e,Ialso took screen capturesofthe kkofficial-plans.com ''hom epage.

    True and accurate copies ofthose screen capturesare attached hereto asM . Stanley Attachm ent

    A . The captures accurately show the O ffieial-planshom epage as lsaw it170th on October 10,

    20l7,w hen ltirstvisited,and then again on October l3,2017,w hen ltook the screen captures.

                   About90 m inutes Iater,Ireceived a phonecallfrom 754-802-3837. The caller

    said hisnam e wasChristopherFanfan and thathe wascalling from theCom pliance D epartm ent

    ofttsim ple Health.'' He asked m e again forthe inform ation on the application so he could access

    the rightaccount. Idecided to try one lasttim e to dealw ith Sim ple Health, and gave him the

    inform ation. Ireiterated to him thatIwanted to cancelthe policy and receive an em ail

    confirm ing the cancellation and thatm y creditcard w ould notbe charged on January 2, 20l8.

    Christophertold m e thathe would stlbm ita requestforthe application to be cancelled, and that

    aIIofthe personalinform ation Iprovided w ould be deleted from Sim ple Health'selectronic

    records. Isaid thatisfine,butcould lpleasereceive an em ailforconfirm ation purposes.

    stated thatthey could notgenerate an em ailfora policy thatwasnotactivated asthe em ailsare

    atltom atically generated from active accounts. Ieven asked him ifhe could sim ply send m e an

    em ailconfirm ing ourdiscussion. He stated he could not. H ow ever,he did give m e his direct

    ntlm berto callhim at754-802-3837 ifIhad any otherqtlestionsorconcerns.
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                            DECLAR ATION OF M ICH ELLE THOM PSON
                                   PURSUANT TO 28U.S.C.j1746
             1,M ichelleThompson,herebydeclareasfollows:

                    My nam eisM ichelleThompson. llive in New Jerseyand am overeighteenyears

      ofage.Ihavepersonalknowledgeofthefactsstated in thisdeclaration,and ifcaiied asa

      witness,Icould andwould competently testify to these same facts.

                                                Background

                    DuringthefirstweekofDecember20l7,lsearchedonlineformajormedical
      health insurancefor1ny daughter,DanielleVanDuysen.She isa collegestudentinNorth

      Carolinaand starting in January 2018,shewould losehealth insurancccoverageundermy health

      insurancepolicy.Iconducted aGooglesearchforaffordableinsurancepoliciesin No14h

      Carolina and lfound ahealth insurancewebsitethatincluded an insurance quote link. lentcred

      bothm y daughter'sand my personalinform ation into thewebsite,including hernameand age,

      aswellasmyphonenum berandemail. Afterlsubmitted thisinformation,the websitestatvd a

      representative Would contactm e.

                                                SalesCall

                    On December6,2017,1reccived acallfrom arepresentative named Julio from

     SimpleHea1thPlans(çlsimpleHealth'').Hedidnotaskmeanymedicalhistoryquestionsbut1
     toldhim 1wantedtomakesurethatmydaughterwouldhaveanation-widemajormedical
     insurancepolicy with copays.Julio stated hehad such aplan with apremium of$265per
     month. He said itwasatil-lumanaplan''and tûoneofthebestplansavailable.''He then detailed

     theplan'sbenetits. Heexplainedthattheplan had no deductibles,thatthe copay fbrdoctor

     visitswas$10 forprim ary care physiciansand $30 forspecialists. He said thatthe plan had

     prescription drug coverage and wewouldpayunder$35 fornamebrandprescriptionsand under
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       $14 forgeneric prescriptions.Julio stated theplan did notinclude coverageformaternity care,
      drug addiction services,ormentalhealth services.Julio told methatthe firstmonthly fee would

      includethe$265 premium plusaone-time enrollmentfeeof$125,foratotalup-frontcostof
      about$390. 11ealso stated thattheprice forthisplan wasiçlocked-in''and month-to-month for
      the firstfiveyears. Itold Julio thatIwasnotsureiflwanted to purchasetheplan andthatl

      wanted totalk itoverwith my fam ily.AfterItold him 1wouldcallhim thenextday,he

      provided histelephonenumberarld extension at1-800-594-4046,ext. 11427.

                     On Decem ber7,2017,lcalled Julio backusingthephonenumberhe provided. I

      reiteratedthat1wantedanation-widefullcoveragemajormediealinsttranceplanwitheopaysfor
      my daughter.Julio stated thattheplan hepreviotlsly described had copaysand claimed thatm y

      daughterwouldhavefullmedicalinsurance,with coveragestm ingon January l, 20l8.Based

      on Julio'sassurances,lagrced to purchasethehealth insurance policy. Atthistim e, he

      requested paym entand lpaid $390 using my Visa creditcard. Shortly afterlpaid,weended the
      call.

                    Sim ple L1ea1th did notsend any enzailorany policy documentation contirm ing
     coverage detailsotherthantheinsurancecard,which my daughterdidnotreceive untilseveral

     weekslater. lwassurprised to tind outthatin smallprint,atthetop, on thefront,theinsurance

     cardss'
           tates:lçl-lospitallndem nity Insurance Card''and il-
                                                              l-hisisa Lim itedBenefitP1an.''A true

     and correctcopy theinsurance ID card isattached hereto asThom psonAtt.A . Julio never

     disclosedthisplan wasactually alim ited benetitplan. lncverwould haveagreed to purchase a

     lim ited benefitplan had Julio disclosed thisfact.

                    During thethird week ofJanuary 20l8,my daughterrequired medicaltreatm ent.

     Betbre she wentto see a doctor,Ibelieveshecalled Bay BridgeAdministratorsat1-800-845-
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       7519 aslisted on theinsurance card,in orderto know which doctorswerein thenetwork. A t

      thattime,a representative ofBay Bridge Adm inistratorsinformedm y daughterthatthis

      indemnity plan paysaportion ofthebilland shemustpay out-of-pocketfortheremaining

      balance. ln otherwords,therewasnotsimply the copay Julio had described, and thisclearly was

      notmajormedicalinsuranceasJuliorepresentedandpromised.Thisplanwasuselessandnot
      theplanthatlagreed to purchase Iintended to seek arefund but1did notwantto risk notbeing

      ableto cancelbecauseIm ade aclaim,so Itoldm ydaughterthatwewould pay forhermedical

      treatmentourselves,fully out-of-pocket. Ourout-of-pocketcostto seethedoctoratUrgentCare

      wasapproximately $240 and thecostforthe influenza testwasan additional$80.
                    Between January 22and January 24,2018,lcalled Sim pleHea1th multipletimes

      attempting tocontactJulio to complain,canceltheplan,and obtain arefund However,ldo not
                                                                              .



      recallexactly how m any tim eslcalled. ThephonenumberthatJulio provided wasno longer

      cormected to him . Instead,arecording instructed meto callanotherSimple 1,1ea1th num berat

      954-606-9070. Each time lcalled,a representativeclaimed thatJulio tlwasunavailable''or

     ûçlulio cannotacceptincoming calls.''ltold each representative thatlwanted to speak withJulio

     because he sold mea uselesshealth insuranceplan and lied aboutwhatIwasgetting. 1also

     questioned why hewasconsistently unavailable. Norepresentativeanswered my questions,

     rathertheyjusttransferredmeto anotherrepresentative.Finally,thelastrepresentative
     transferred m eto atkm ale casem anagernamedDumi.

                    W hen Dumianswered thephone,lim mediately explainedthatJuliodeceivedme

     and despite hisassurances,theplan wasnotfullm edicalinsurance,ratheritwasalim ited benefit

     indemnity plan. Dumiim mediately proceededtotoutthebeneiitsoftheHumanaProtector360

     plan,which Julio did notfully describe.Shedescribed itasa'Gtwo-sided plan''whereby the
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       patientvisitsadoctorwho worksaccording to a contracted rate, thereby leaving aportion to the

       patient. Thesecondpartoftheplan meansthatthe indemnity coveragepaysan additional$50
       on therem aining balance.Despitemy complaintand frustration, she attempted topersuadem e
      tokeep theplan by clailning,tt-
                                    rhisisagreatplan.'' She suggested lcould upgradeto am ore

      expensiveplancalled theçtprotector2000'5and sheadvised m eto callHea1th Insurance

      lnnovations(&tHll'')at877-376-5831.ltoldher1didnotwanteitherplan,and sheeventually
      agreed to tileacomplaintwith theSimpleHea1th complaintdepartm enton my behalf. Then w e

      ended the call.No oneevercontacted meaboutthecomplaint.

                    Shortly afterlended thecallwith DumisIcalled SimpleHealth'scustomer

      servicedepartmentagain. '
                              rhistime,Ispokewith anotherrepresentativenamed Karina. 1
      im mediately expiained to KarinathatJulio lied tom eand sold me auselesshealth insurance

      policy thatIspecifically told him Idid notwant. 1told herpolitely butfirmly thatIwasm isled.

      1askedher,tiW hy would Simple14ea1th blatantly allow Julio to sellmeaninferiorinsurance

      plan?'' She piaced meonhold and when she returned ,she replied, Lk
                                                                       W e11,1willjustcancelyour
     policy.'' Iresponded,t11donotwantyou to cancelmy policy, 1wantanswersto my questions.''

      Besides,my daughterstillneeded som esol'tofinsurancecoveragewhileItried to obtain

     insurancethrough herschool.W hen lwasspeaking with Karina, itsounded asifsom eonewas

     in thebackground coaching her. ltold herthatIwanted to speak with theperson who waswith

     herbecause itappeared içthey had alloftheanswers.'' Sherefttsed,butIinsisted,and shehanded

     the phoneto a SimpleHealthemployeenamed Leonardo.

                   1described my experience to Leonardo. Ispecitically told him thatJulio

     misrepresentedwhatIwaspurchasing,claimingaworthlesslimitçd beneftpolicywasmajor
     medicalinsurance.Leonardo wasextrem ely rude and dismissive. Atonepoint,hestated,téThis


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       istheplan thatyouaregetting''and hesaid Ihad abad attitude. lwasshocked anddismayed.

      attemptedto speak reasonably to him buthe becamem orcbelligerent. He furtherstated,tlYou

      can complain andplay gam esa11day because1getpaid by thehour.''ltold him 1wanted to

      speak withhissupervisorand he told methereisno oneabovehim . Fceling incredibly'

      frustrated,ljustgaveup andendedthecall.
                    1called SimpleHealth 1henextdayonJanuary 25,2018,usingthesam ecustomer

      selwice num berand lspoketo arepresentativenamedAngel. Angelwasmuch morepolitethan

      Leonardo.ltoldAngelIwanted to speak with someonein authority who could explain to me

      why Simple Health perm itted Julio to setlme auselesslim ited benefitplan. Ialso demanded to

      know why everyonecontinued to claim thatJulio wasnotavailable. Ialso wantedtoreport

      Leonardo'sbehavior.Angelapologized and stated hewould fileacomplaintwith thecom plaint

      departmenton my behalf,buthe did notstateatime ordatewhen Simple11ea1th would contact

      me toresolve my complaint. Ithen asked him forSimpleHealth'saddressbecauselintended to

      tileacomplaintagainstSimpleHea1thwiththeBetterBusinessBureau(%çBBB'').Hesaidhe
     wasnotpermitted totellme,which lfound strange. lasked foran explanation and he only said

     he istfnotallowed to giveitout.''

                   Laterthatday,1received an emailfrom HlIindicating itprocessed my
     cancellation requestand issued afullrefund. A true and correctcopy ofthecaneellation em ailis

     attached hereto asThom pson Att.B.

                               Com plaintto theBetterBusinessBureau

                   On oraboutJanuary 22,2018,1filed acomplaintwith theBBB. H owever,1

     mistakenly tiled the complaintagainstSim ply Health, notSimple14ea1th.Atthetim e,lhad no

     information aboutSimple14ea1th becauseAngeldidnotprovideany information and aquick
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       lnternetsearch led me to Simply Hea1th. On oraboutJanuary 23,2017,Simply Hea1th

      responded to the BBB complaint,stating my complaintdoesnotexistin theirsystem and lfiled a

      complaintagainstthewrongcompany. Thenextday,Icontinued researehingontheInternetand

      found dozensofcomplaintsrelated to Simple Hea1th. '
                                                        rhesecomplaintssounded similartomy
      own and Ibelieved thatIfound thecon'
                                         ectcompany. On January 24, 20l8,Ifiled acomplaint

      againstSimple Health with theBBB.

              14.    On January 29,2018,Sim ple14ea1tl4responded to my BBB com plaint. Simple

      Health claim edthatthe tsm ember''performeda Eineedsand costanalysis''to find asuitable

      product. Sim pleHealth also claimed lcom pleted averificationprocessaspartofthepurchase,

      which ldo notrecallatall. Simple Health furtherclaimed Julio offered me manydifferent

      health insurancepoliciesduring the salescall. Lastly,Simple 11ea1th claim ed 1engaged in an

      ttoffensive verbalaltercation''with a representative, presum ablyLeonardo.

                    On January 30,2018,1responded to SimpleHealth'sexplanation andaddressed
     every claim .Simple Health dishonestly responded to mycom plaint. First, despite Simple

     Health'sclaim ,itneverofferedm ultipleinsuranceoptions. Sccond, SimpleHea1th never

     disclosed tl
                aatm yplan wasactually an indemnity lim ited benefitplan. Simple Health did notsell

     meamajormedicalinsurancepolicyasJuliopromised.IexplicitlytoldJuliomultipletimesthat
     lwanted copaysand fullcoveragehealth insurance.Despite a1lofthis, hestillsold mealimited

     benefitplan. Third,1nevertreated Leonazdo orany otherSimplellealth employeewith

     disrespectand 1did notuseoffensive languageatany time. Notonly wasl-eonardo

     anprofessional,hewasabusive. Lastly,ldo noteven know whata Gtneedsand costanalysis''

     means,and Ido notrecallaveritication process.
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                    M y experiencewith Simple Health wasawful. SimpleI-lea1th completely

      m isrepresentedtheinsurancepolicy thattbey sold to me.Then, they avoidedm ewhen 1called

      seeking answersand information.They also treatedm epoorly and even bullied me. lbelieve

      they are extremelydishonest. Upon researching SimpleHealth,itappearsthey have swindled at
      leastdozensofconsumers. Although Iobtained a refund,theprocessand my overallexperience

      wasexhausting,Iknow thatthisfraud would devastatem yparentsand othersonlim ited
      incomes,and lsympathizewith consumerswho arehurtdueto Sim pleHealth'sfraudulent

      businesspractices.Ihopethisbehaviorstopsimmediately.



      1declareunderpenaltyofperjurythattheforegoingstatementistrueandcorrect.
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          Paym ent Authorization

         I am signir
                   ng up for an autom atic paym ent plan. 1 agree that HeaIth Insurance
         lnnovations (''H11'') or its authorized agent may automatically debit my bank
         accourlt or creditcard for the am otint due on or around the paym ent due date.
         Iunderstand thatthis authorizatiol  n w illrem ain în effecttlntil1 cancelitir
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         an* l agree to notify HIT or its authcrized agent in w ritil ng ofany changes in m y
         act-ount inforcnation orterm ination ofthis authorization, w hich m ustbe received by
         H1)'.or its agentat least 7 days priorto the next billing date. lf the above-noted
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        1 understand that because this is an electronic transaction, these fund: m ay be
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                         DECLAM TIO N O F SH ANN O N VA N DEUSEN
                                 PURSUANT TO 28U.S.C.j 1746
          1,Shannon G uerin Van Deusen,hereby declare asfollow s:

                 M y nam e is Shannon Guerin Van Deusen. IIive in Oregon and am overeighteen

   years ofage. Ihave personalknow ledge ofthe facts stated in thisdeclaration,and ifcalled asa

   witness,Icould and would com petently testify to these sam e facts.

                                              Sales Call

                 O n oraboutA ugust l7,20l7,Iw as Iooking forhealth instlrance online. A fter

   stlbm itting m y contactint-orm ation to a website,Ireceived a callfrom a wom an who introdtlced

   herselfas an insurance agentw ith Sim ple Hea1th Plans. She said she understood thatIwasin the

   m arketforhealth insurance.

                  Itoldtheagent.whosenameIcannotrecall,thatIneededmajormedicalhealth
   insurance form y htlsband and m e thatmeta1Iofthe reqtlirementsofthe Affordable Care A ct

   and w ould therefore notobligate usto pay the penalty forfailing to obtain insurance. The agent

   said thatSim ple HeaIth could sellus such a policy. A fterIanswered a few background

   questions,the agentsaid we qualified fora plan w ith a Iow dedtlctible,no out-of-pocket

   expenses,and apremium ofIessthan$300permonth.W hen Iasked ifthiswasacttlalhealth
   insurance,she replied,tùAbsolutely.''

                 The agentexplained thatthe plan could be offered atsuch a low price because we

   did notneed coverage form aternity care orm entalhealth. Iasked herto check ifourtwo

   prim ary care physicians were in the plan'sprovidernetwork. She claimed to look up these

   doctorsand then confirm ed thateach would be ttin network.'' According to the agent,coverage

   would beginthe nextday iflagreedtosign up and paidthefirstmonth'sprem ium of$277.85as
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   wellasan$80enrollmentfeeforatotalup-frontpaymentof$357.85. Basedonthese
   representations,Iagreed to sign up forthe health insurance plan described by the agent.

                  A ftertakiflg m y creditcard information,the agenttransferred m eto a separate

   tiveritication''employee. This employee proceeded to read a num berofdisclosuresquickly from

   aprepared script,periodically asking m e to acknow ledge thatIunderstood these statem ents.

   Even though Idid notfollow m uch ofw hathe said,Ifeltpressblred to say thatIagreed w ith

   everything. Henotonly refused to answerany qtlestions,butwarned thatIwould betransferred
   back to the salesagentifItried asking a question,wherethe processwould startaIloveragain.

                                                Em ails

                  On August 17,20l7,the sam e day thatIfirstspoke with Sim ple Health,l

   received severalemails.TheGrstemail,from HeaIth Insurance Innovations(*ûHIl''),confirmed
   thatIhad paid $357.85.A trueandcorrectcopy ofthisemailisattached hereto asVan Deusen

   AttachmentA.A secondemail,alsofrom Hllattheaddressechosian@echosian.com,
   prom pted m e to click on a Iink in orderto Kereview and sign A pplication Form ofSupplem ental

   Coverage Tool.'' A trtle and correctcopy ofthis em ailisattached hereto asV an Deusen

   Attachm entB. A fterclicking on thislink,lreceived athird em ailfrom H llw ith eightseparate

   attachm ents. A true and correctcopy ofthisem ailand the attachmentsisattached hereto asVan

   Deusen Attachm entC .

                  A fourth em ailfrom H II,also dated A ugust I7, 2017,inform ed m e thatIhad

   enrolled in 'tFreedom SpiritPlus,''itDentalSavings,''and tksentry A ccidentPlan.'' ltstated thatI

   would bekkcharged immediately''atotalof$277.85 andthatthischargewouldrecureach month

   during the tim e these plans were in effect. The em ailalso stated: kilfyou are not l00% satisfied

  w ith yourcoverage,and you have notalready used any ofyourinsurance benefits, yotlm ay
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   cancelyotlrpolicy during the free Iook period. Coverage w illbe cancelled asofyoureffective

   date and yourplan costw illbe returned.'' A true and correctcopy ofthisem ailisattached hereto

   asVan Deusen Attachm entD .

          8.      lreceived a tsfth em ailon August l7,2017 from 4core HeaIth atthe addresscs-

   simple@simplehealthplans.col
                              r.Thisemailstatedthat4coreHealthQ:ISNOT INSURANCE''
   and provided a custom erservice telephone ntlm berof888-45l-6827. A true and correctcopy of

   thisem ailisattached hereto asVan Deusen A ttachm entE.

                                Cancellation and Attem pted Refund

                  lbecam e concerned afterreading these emails because they indicated thatlhad

   notsignedupformajormedicalinsuranceaslhadbeenledtobelievebySimpleHealth.
   Instead,these em ailsand the related attachm entsdescribed w hatappeared to be a Iife insurance

   orcatastrophicinjurypolicyaswellasamedicaldiscountprogram.Ihadnointerestinthese
   services and neverw ould have agreed to pay forthem ifthey had been clearly disclosed by

   Sim ple Health.

                 W hen lcalled Sim ple Health'stelephone num berto ask fora refund,am anager

  told me thatIhad signed tlp foran k'extremely good''tkhealth plan'-w ith no dedblctibles. He said

   thatlcould schedule doctorappointm ents by calling my -ùconcierge''and provided m e with a

   ntlm berto reach this service. Ireluctantly agreed notto cancel.

                 O n October6,2017,Icalled Sim ple HeaIth because Idid notknow how to setup

  a doctor'sappointm ent. Ispoke w ith a fem ale representative,who said thatlshould have

   received an enrollm entem ailand prom ised thatIwould receive one shortly. Thatsam e day,I

  received an emailfrom W ellnessPlanofAmerica(*(W PA'').A trueand correctcopy ofthis
  em ailisattached hereto asV an Deusen Attachm entF.
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   The em ailfrom W PA describe itas atim em bership savingsprogram containing health and

   w ellnessbenefitsthatsave you m oney and supportyoureveryday health and w ellness needs.'' ln

   smallprintunderneathagraphicclaimingthatmemberswouldLtenjoy''over$5,000insavings,
   the emailstated: tEW PA m em bership isN OT a HeaIth Insurance Policy nordoes itreplace any

   health insurancepolicy. W PA isalsoNOT aQualified HeaIth PlanundertheAffordableCare
   Act. W PA com plim entsexisting insurance orcan be used on itsown to help its mem bers Iive

   welland reduce theiroverallhealthcare expenses.''

                  Afterreceiving the W PA em ail,lclicked on the 'ûvisitw ebsite''link to Gnd the

   log-in portal. Idid nothave the log-in inform ation so Iclicked on thekçhaving trouble logging

   in''link. Iretrieved the inform ation forthe ttID''and bipassw ord.'' A fterIogging in, there w asa

   page w ith a phone num berto callthe wtconcierge.'' A lso,atthe top ofthe page containing the

   phone num ber,itread,--N otPartofthe A ffordable Care A ct.''

                  lim m ediately called Sim ple Health and spoke to a m ale representative, w ho

   transferred m e to a 'ûm anager''afterIexplained the purpose ofm y call. Itold the m anagerthatl

   expected and paid forinsurance.notthese otherplans. He attem pted to perstlade m e to keep the

   policy,stating: 'ksimple Health isa private com pany and notassociated with the government.

  A ssuch,w e don'treceivea subsidy. Asa result,we can provide a low erratethan the m arket

   place.'' He furtherstated,ktit's excellentm edicalcoverage and yotlwon'thave to owe anything

  on yourtaxes.'' Thisdid notm ake senseto m eand also failed to addressm y concerns.

                  On October25,2017,w hen Iattem pted to callm y ticoncierge,''Ireached

  som eone atW PA . Igave thisperson m y doctor'snam e and contactinform ation,requesting that

  they schedule a routine check-up form e. Laterthatday, Ireceived acallfrom a receptionistat

  m y doctor'soffice indicating thatsom eone had tried to make an appointm enton my behalf The  .
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        Ptan.You wittreceive fastand courteousservice.Ifany additionatinformation isneeded,you wittbe
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        You wittbe charged immediatety $1* .45forFreedom SpiritPtusCoverage Perie of08-19-2017 through
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             Mem bership Inform ation

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             REFER TO THE IMPORTANTW ELLNESS PLAN OFAMERICA (WPA)INFORMATION AND
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